+

Case 8:20-bk-00183-CPM Doc1 Filed 01/10/20 Page 1 of 68

Fill in this information to identify your case: af :
| FILED
» United States Bankruptcy Court for the: : : nae

Middle District of Florida

Case number (if known): Chapter you are filing under:
Chapter 7
| Chapter 11 '
CJ Chapter 12 : we3A PLS a oo
Q) Chapter 13 : Check if this is an
amended filing

  

 

Official Form 101 .
Voluntary Petition for Individuals Filing for Bankruptcy 12/17

The bankruptcy forms use you and Debtor 7 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

aa Identify Yourself

 

 

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name
Write the name that is on your Clarence
government-issued picture - -
identification (for example, First name First name
your driver's license or .
passport). Middle name Middle name
Gardener

Bring your picture
identification to your meeting Last name Last name
with the trustee.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Suffix (Sr, Jr., I, HD) Suffix (Sr., Jr., I, 1}
2. All other names you
have used in the last 8 First name First name
years
Include your married or Middle name Middle name
maiden names.
Last name Last name
First name First name
Middle name Middle name
Last name Last name
3. Only the last 4 digits of
your Social Security XXX = XX — _ 6 fo _8_ ft XXX XX ee
number or federal OR OR
Individual Taxpayer 9
identification number XX = XX Oxx —- xx -
(TIN)

 

Official Form 101 Voluntary Petition for Individuals Fiting for Bankruptcy page 1
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bebtor1 Clarence Gardener

 

First Name Middle Name

Last Name

Case number (if known}

 

4. Any business names
and Employer
Identification Numbers
(EIN) you have used in
the last 8 years

Include trade names and
doing business as names

About Debtor 1:

CJ | have not used any business names or EINs.

Gardener Enterprises of Florida LLC

 

Business name

 

Business name

8 3.28749 6 1

EIN”

About Debtor 2 (Spouse Only in a Joint Case):

CJ 1 have not used any business names or EINs.

 

Business name

 

Business name

EIN

 

5. Where you live

17325 Hubers CT

 

 

 

 

Number Street

Odessa FL 33556
City State ZIP Code
Hillsborough

County

If your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

 

 

 

If Debtor 2 lives at a different address:

 

Number Street

 

 

City State ZIP Code

 

County

If Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

 

 

 

 

Number Street Number Street

P.O. Box P.O. Box

City State ZIP Code City State ZIP Code
6. Why you are choosing Check one: Check one:

this district to file for
bankruptcy

4 Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

() | have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

L] Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

(| have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

 

Official Form 104

Voluntary Petition for Individuals Filing for Bankruptcy page 2
Debtor 1

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First Name

Clarence Gardener

Middle Name

Case number (if known)

 

Last Name

ee Tell the Court About Your Bankruptcy Case

7.

The chapter of the
Bankruptcy Code you
are choosing to file
under

Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.

(4 Chapter 7

C) Chapter 11
L) Chapter 12
Cd Chapter 13

 

 

 

 

How you will pay the fee

C) I will pay the entire fee when | file my petition. Please check with the clerk’s office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. If your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.

C) | need to pay the fee in installments. If you choose this option, sign and attach the
Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

| request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). If you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

 

 

 

 

 

 

9. Have you filed for OI No
bankruptcy within the : .
last 8 years? Wes. pistrct Florida when 11/14/2018 — Gace number 8:18-bk-09796
MM/ DD/YYYY
District When Case number
MM / DD /YYYY
District When Case number __
MM/ DD/YYYY
10. Are any bankruptcy W No
cases pending or being
filed by a spouse who is Qh Yes. Debtor Relationship to you
not filing this case with District When Case number, if known
you, or by a business MM/DD /YYYY
partner, or by an
affiliate?
Debtor Relationship to you
District When Case number, if known __
MM /DD/ YYYY
14. Do you rent your YI No. Gotoline 12.
residence? L} Yes. Has your landlord obtained an eviction judgment against you?

Official Form 101

LC} No. Go to line 12.

LJ Yes. Fill out initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
part of this bankruptcy petition.

Voluntary Petition for Individuals Filing for Bankruptcy page 3
Case 8:20-bk-00183-CPM Doc1 Filed 01/10/20 Page 4 of 68

Debtor 1 Clarence Gardener Case number (if known)

 

 

First Name Middle Name Last Name

| Part 3: | Report About Any Businesses You Own as a Sole Proprietor

 

12. Are you asole proprietor @ No. Goto Part 4.
of any full- or part-time
business? tL] Yes. Name and location of business

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as

a corporation, partnership, or
LLC. Number Street

 

Name of business, if any

 

If you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

 

 

City State ZIP Code

Check the appropriate box to describe your business:

() Health Care Business (as defined in 11 U.S.C. § 101(27A))

Q) Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

CJ Stockbroker (as defined in 11 U.S.C. § 101(53A))

| Commodity Broker (as defined in 11 U.S.C. § 101(6))

LJ None of the above \

 

13. Are you filing under If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
Chapter 11 of the can set appropriate deadlines. \f you indicate that you are a small business debtor, you must attach your
Bankruptcy Code and most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
are you a small business any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
debtor?

W No. 1am not filing under Chapter 11.
For a definition of smaif
business debior, see CI No. tam filing under Chapter 11, but |am NOT a small business debtor according to the definition in
11 U.S.C. § 101(51D). the Bankruptcy Code.

Ql) Yes. | am filing under Chapter 11 and | am a small business debtor according to the definition in the
Bankruptcy Code.

Ea Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

 

14. Do you own or have any No
property that poses or is
alleged to pose a threat Q) Yes. What is the hazard?

 

of imminent and
identifiable hazard to

 

public health or safety?
Or do you own any

property that needs If immediate attention is needed, why is it needed?

 

immediate attention?
For example, do you own

 

perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

Where is the property?

 

 

 

Number Street
City State ZIP Code
Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 4
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Debtor 4 Clarence Gardener

 

First Name Middie Name

Last Name

Case number (if known)

Eo Explain Your Efforts to Receive a Briefing About Credit Counseling

 

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. If you
cannot do so, you are not
eligible to file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 101

About Debtor 1:

You must check one:

| received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and I received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

C] | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but Ido not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

C1 certify that 1 asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

L) tam not required to receive a briefing about
credit counseling because of:

QO) Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

C) Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

C) Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for Individuals Filing for

About Debtor 2 (Spouse Only in a Joint Case):

You must check one:

Cl i received a briefing from an approved credit
counseling agency within the 180 days before I
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

} | received a briefing from an approved credit
counseling agency within the 180 days before 1
fiied this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

Chi certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after i made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

lf the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

C) 1am not required to receive a briefing about
credit counseling because of:

Cl Incapacity. | have a mental illness or a menial
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

L} Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

L) Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Bankruptcy page 5
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Debtor 4 Clarence Gardener

Case number (if known)

 

First Name Middle Name

| Part 6: Answer These Questions for Reporting Purposes

Last Name

 

16. What kind of debts do
you have?

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose.”

QC) No. Go to line 16b.
Wd Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

i No. Go to line 16c.
LJ Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts.

 

 

17. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is

LI No. | am not filing under Chapter 7. Go to line 18.

J Yes. 1am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

 

 

excluded and W No
administrative expenses
are paid that funds will be OI Yes
available for distribution
to unsecured creditors?
18. How many creditors do 1-49 CJ 1,000-5,000 L) 25,001-50,000
you estimate that you CJ 50-99 C} 5,001-10,000 LJ 50,001-100,000
owe? QC) 100-199 C} 10,001-25,000 C) More than 100,000
C) 200-999
19. How much do you C} $0-$50,000 C) $1,000,001-$40 million C) $500,000,001-$1 billion

estimate your assets to
be worth?

C} $50,001-$100,000
1 $100,001-$500,000
LJ $500,001-$1 million

{3 $10,000,001-$50 million
C3 $50,000,001-$100 million
C3 $100,000,001-$500 million

L} $1,000,000,001-$10 billion
UL} $10,000,000,001-$50 billion
(J More than $50 billion

 

20. How much do you
estimate your liabilities
to be?

it taw@ee Sign Below

For you

QO) $0-$50,000

C) $50,001-$100,000
 $100,001-$500,000
CJ) $500,001-$4 million

CY $1,000,001-$10 million

CJ $10,000,001-$50 million
C3 $50,000,001-$100 million
{3 $100,000,001-$500 million

CL} $500,000,001-$1 billion

CY $1,000,000,001-$10 bittion
(J $10,000,000,001-$50 billion
(J More than $50 billion

| have examined this petition, and | declare under penalty of perjury that the information provided is true and

correct.

If | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. | understand the relief available under each chapter, and | choose to proceed

under Chapter 7.

If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

x

x

 

Signature of Debtor 1
Executed on 01/09/2020

 

Signature of Debtor 2

Executed on

MM / DD /YYYY

MM / DD /YYYY

 

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

page 6
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Debtor 1 Clarence Gardener Case number (if known)

 

 

First Name Middle Name Last Name

 

 

|, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility
to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
available under each chapter for which the person is eligible. | also certify that { have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that | have no
If you are not represented os an ray oe the information in the schedules filed with the petition is incorrect. ,

For your attorney, if you are
represented by one

  

 

by an attorney, you do not a
need to file this page. c 4 a
pag x aa 7 Date y D 9 jor
ignature of Attorney for Debtor MM / DD /YYYY

 

Printed name

 

Firm name

 

Number Street

 

 

 

 

City State ZIP Code
Contact phone Email address _
Bar number State

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 7
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Debtor 1 Clarence Gardener Case number (if known)

 

First Name Middle Name

 

Last Name

 

 

For you if you are filing this
bankruptcy without an
attorney

If you are represented by
an attorney, you do not
need to file this page.

Official Form 101

The law allows you, as an individual, to represent yourself in bankruptcy court, but you
should understand that many people find it extremely difficult to represent
themselves successfully. Because bankruptcy has long-term financial and legal
consequences, you are strongly urged to hire a qualified attorney.

To be successful, you must correctly file and handle your bankruptcy case. The rules are very
technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. If that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

If you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

LJ No
id Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

LI No
id Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?

No

UL) Yes. Name of Person .
Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).

 

By signing here, | acknowledge that | understand the risks involved in filing without an attorney. |
have read and understood this notice, and | am aware that filing a bankruptcy case without an
attorney may cause me to ights or property if 1 do not properly handle the case.

  
 

 

 

 

 

ear
Signature of Debtor 1 Signature of Debtor 2
Date 01/09/2020 Date
MM/DD /YYYY MM/ DD /YYYY
> “4 ©
Contact phone KF U ? 4 - oO 5oY Contact phone
Cell phone Celi phone

 

 

Email address

 

;
t
@: | cOnena address

   

Voluntary Petition for Individuals Filing for Bankruptcy page 8
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Fill in this information to identify your case:

Debtor 4 Clarence Gardener

First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Middle District of Florida

Case number C} Check if this is an
(if known) amended filing

 

 

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

aa Summarize Your Assets

Your assets
Value of what you own

1. Schedule A/B: Property (Official Form 106A/B)

 

1a. Copy line 55, Total real estate, from Schedule A/B ........cccsccecccnceceecneceeceenenceeveneneseeuseaneneecessanennsaescuaaeen sagen saeaesensuaestenpeeta $ ___ 81,798.00
1b. Copy line 62, Total personal property, from Schedule A/B 2... eccecceecce ce ceeeeeneeteeeenuesaeesseeeesesasscvedessasseneseraerneasneeenaes $ 1,090.00
1c. Copy line 63, Total of all property on Schedule A/B occ ecccceccceeccceeceneeeceeeesee cee ceaeesaee cute caecaaesesecnaeseseesnnereeaeeseesseevaaseaee 5 382,888.00

 

 

 

| Part 2: | Summarize Your Liabilities

Your liabilities
Amount you owe

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)

 

 

 

 

 

2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D............ $ __ 381,798.00
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F) 750.00
3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ........ccccccee cece eeeeeteeeee $___fyiw=
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F «00.2... ceceecee eet eee + 0.00
Your total liabilities $ 382,548.00
a Summarize Your Income and Expenses
4. Schedule I: Your Income (Official Form 1061)

, 5 5,554.00
Copy your combined monthly income from line 12 of Schedule fo... ...ccc cc cecceecceccccecteeccececenaeenseececereanensrseseeenaecuseeeenesinenanees >

5. Schedule J: Your Expenses (Official Form 106J)
Copy your monthly expenses from line 22c of Schedule So... sececceecneeceeeeeeeeneeesseesereveeeseeeecueesieeeaeeneeasansaseaaveateneeseaees $ ___5,229.00

 

 

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2
Case 8:20-bk-00183-CPM Doc1 Filed 01/10/20 Page 10 of 68

Debtor1 Clarence Gardener Case number titknown)

 

 

First Name Middle Name Last Name

Ea Answer These Questions for Administrative and Statistical Records

 

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

LJ No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
Yes

 

 

7. What kind of debt do you have?

Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

C] Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules.

 

 

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14. $ 5,554.00

 

 

 

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F.

 

Total claim
From Part 4 on Schedule E/F, copy the following:
9a. Domestic support obligations (Copy line 6a.) $
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $
9d. Student loans. (Copy line 6f.) $
Ye. Obligations arising out of a separation agreement or divorce that you did not report as $
priority claims. (Copy line 6g.)
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +$
9g. Total. Add lines 9a through 9f. $ 0.00

 

 

 

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2
Case 8:20-bk-00183-CPM Doc1_ Filed 01/10/20

Fill in this information to identify your case and this filing:

Clarence Gardener

First Name

Debtor 1

 

Middle Name Last Name

Debtor 2
(Spouse, if filing} First Name

 

Middle Name Last Name

United States Bankruptcy Court for the: Middle District of Florida [=]

Case number

 

 

 

Official Form 106A/B
Schedule A/B: Property

 

Page 11 of 68

LJ Check if this is an
amended filing

12/15

 

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,

write your name and case number (if known). Answer every question.

Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

CJ No. Go to Part 2.
a Yes. Where is the property?
What is the property? Check all that apply.

at. 17325 Hubers CT w Single-family home

Duplex or multi-unit buildin:
Street address, if available, or other description O uP uni eu g

 

(J Condominium or cooperative
LJ Manufactured or mobile home

 

 

 

 

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

g 350,000.00 ¢ 381,798.00

 

Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

Q) Land
C2 investment propert
Odessa FL 33556 5 Inves ment property
City State ZIP Gode Timeshare
CY other
; f Who has an interest in the property? Check one.
Ueheregh
; Debtor 1 ont
Ht lt 8 De LreHvGlr y
County ~ Q] Debtor 2 only

() Debtor 1 and Debtor 2 only
() At least one of the debtors and another

L} Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

|f you own or have more than one, list here:
What is the property? Check ail that apply.
I) Single-family home

12. C) Duplex or multi-unit building

 

Street address, if available, or other description . ;
{J Condominium or cooperative

CJ) Manufactured or mobile home
CJ Land

(J investment property

CJ Timeshare

L} Other

 

 

City State ZIP Code

 

Who has an interest in the property? Check one.

C} debtor 1 only

CY Debtor 2 only

C] Debtor 1 and Debtor 2 only

CI At least one of the debtors and another

 

County

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ $

Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

C) check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

Official Form 106A/B Schedule A/B: Property

page 1
Clarence Gardener

 

First Name Middle Name

1.3.

Last Name

 

Street address, if available, or other description

 

Debtor 1

 

City State

ZIP Code

 

County

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
you have attached for Part 1. Write that number here. ............0ccccccceseseseeceeeetaecneuseseetaneuseeceevatauceecusssasesseenneneseess >

Ey Describe Your Vehicles

What is the property? Check all that apply.
tj Single-family home

Duplex or multi-unit building

(2 Condominium or cooperative

( Manufactured or mobile home

() Land

CD investment property

(J Timeshare

CJ other

 

Who has an interest in the property? Check one.
L} Debtor 4 only

C} Debtor 2 only

i} Debtor 1 and Debtor 2 only

ia) At teast one of the debtors and another

Case 8:20-bk-00183-CPM Doc1 Filed 01/10/20 Page 12 of 68

Case number (if known)

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ $
Describe the nature of your ownership

interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

LL) Check if this is community property
(see instructions)

Other information you wish to add about this item, such as focal

property identification number:

 

 

¢ __ 381,798.00

 

 

 

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

W No
Cl Yes

3.1. Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

 

If you own or have more than one, describe here:

3.2. Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

Official Form 106A/B

 

Who has an interest in the property? Check one.
C} Debtor 1 only

CJ Debtor 2 only

() Debtor 1 and Debtor 2 only

CJ At least one of the debtors and another

C] Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

CJ Debtor 1 only

CL} Debtor 2 only

C) Debtor 1 and Debtor 2 only

(} At least one of the debtors and another

C) Check if this is community property (see
instructions)

Schedule A/B: Property

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?
Case 8:20-bk-00183-CPM Doc1 Filed 01/10/20 Page 13 of 68

Debtor? Clarence Gardener

 

First Name Middle Name

3.3. Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

3.4. Make:
Model:
Year:

Approximate mileage:

 

Other information:

 

Who has an interest in the property? Check one.

LJ Debtor 1 only

C] Debtor 2 only

LJ Debtor 1 and Debtor 2 only

(} At least one of the debtors and another

C) Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

CJ Debtor 4 only

CQ} debtor 2 only

() Debtor 1 and Debtor 2 only

(} At least one of the debtors and another

C) Check if this is community property (see
instructions)

Case number (if known)

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the arnount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories

Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

No
CL) Yes

4.4, Make:
Model:
Year:

Other information:

 

 

 

If you own or have more than one, list here:

4.2. Make:
Model:
Year:

Other information:

 

 

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here

Official Form 106A/B

Who has an interest in the property? Check one.
C Debtor 1 only

LJ Debtor 2 only

(2 Debtor 1 and Debtor 2 only

(J At teast one of the debtors and another

} Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
C) Debtor 1 only

C) Debtor 2 only

CJ Debtor 4 and Debtor 2 only

CD At least one of the debtors and another

() Check if this is community property (see
instructions)

Schedule A/B: Property

 

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

 

5 0.00

 

 

 

page 3
Case 8:20-bk-00183-CPM Doc1 Filed 01/10/20 Page 14 of 68
Debtor 1 Clarence Gardener Case number (if known)

First Name Middle Name Last Name

| Part 3: | Describe Your Personal and Household Items

Do you own or have any legal or equitable interest in any of the following items?

 

 

Current value of the
portion you own?
Do not deduct secured claims

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

or exemptions.
6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware
No o : . a oe :
W Yes. Describe......... Washer, Dryer, Fridge, Microwave, furniture (living room, bedroom, dining § 800.00
room), linens - all more than 4 years old OO
7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games
() No ,
Yes. Describe.......... 1 55" Flat Screen TV - more than 3 years old ¢ 150.00
8. Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or basebail card collections; other collections, memorabilia, collectibles
id No . nna iin wie
C) Yes. Describe.......... $
9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments
4 No a
CL] Yes. Describe.......... : $
10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment
id No sons
CY Yes. Describe.......... : $
11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
UC) No .
4 Yes. Describe.......... Everyday clothing ¢ 120.00
12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver
ae | 20.00
id Yes. Describe........... ' : :
es. Describe Man's Wedding Band $n
13.Non-farm animals
Examples: Dogs, cats, birds, horses
i No —
CO} Yes. Describe.......... $
14. Any other personal and household items you did not already list, including any health aids you did not list
4 No
L) Yes. Give specific $
information. ........40.. — re
15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached 5 4.090.00
a
for Part 3. Write that mumber here oo... cesses seessssssessasseessssneceevessssssnuvecasseveseressssusecssssuessnsasssssuecesssusesssaseesnssusssenseeesesaess >

 

 

 

Official Form 106A/B Schedule A/B: Property page 4
Case 8:20-bk-00183-CPM Doc1 Filed 01/10/20 Page 15 of 68
Debtor 1 Clarence Gardener

Case number (i known)

 

First Name

Middle Name Last Name

a Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following? Current value of the

16.Cash

portion you own?

Do not deduct secured claims
or exemptions.

Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

17. Deposits of money

Examples. Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. If you have multiple accounts with the same institution, list each.

17.1. Checking account:
17.2. Checking account:
17.3. Savings account:
17.4. Savings account:

17.5. Certificates of deposit:

17.6. Other financial account:
17.7. Other financial account:
17.8. Other financial account:

17.9. Other financial account:

18.Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

Y no

Institution or issuer name:

Institution name:

Navy Federal Credit Union 6.00

 

Navy Federal Credit Union 0.00

 

 

 

 

 

 

me fF fF fF fF fF FP F HF

 

 

 

 

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture

No
L) Yes. Give specific
information about

Official Form 106A/B

Name of entity:

% of ownership:

 

 

0%
0% »
0% %

 

Schedule A/B: Property page 5
Case 8:20-bk-00183-CPM Doc1 Filed 01/10/20 Page 16 of 68

Debtor 1 Clarence Gardener Case number (i known)

 

 

First Name Middle Name Last Name

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

YW No

C) Yes. Give specific Issuer name:
information about

 

 

 

21. Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

No
C) Yes. List each
account separately. Type of account: Institution name:
401(k) or similar plan: $
Pension plan: ‘ $
IRA: $
Retirement account: $
Keogh: $
Additional account: $
Additional account: $
22. Security deposits and prepayments

Your share of all unused deposits you have made so that you may continue service or use from a company

Examples: Agreements with landiords, prepaid rent, public utilities (electric, gas, water), telecommunications

companies, or others

id No

i 7 -\ Institution name or individual:
Electric: g
Gas: $
Heating oil: §
Security deposit on rental unit: $
Prepaid rent: $
Telephone: $
Water: $
Rented furniture: $
Other: 5

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
A No
7 Issuer name and description:
$
$

 

Official Form 106A/B Schedule A/B: Property page 6

 
Case 8:20-bk-00183-CPM Doc1 Filed 01/10/20 Page 17 of 68
Debtor 1 Clarence Gardener

First Name Middle Name Last Name

Case number (if known)

 

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

WY No
CD Ves ec ccccccsseeeescseeen

Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

 

 

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

YW No

C) Yes. Give specific
information about them..... $

 

 

 

 

 

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

WY no

C] Yes. Give specific
information about them...” $

 

 

 

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

WY No

C) Yes. Give specific i

information about them... $

 

 

 

Money or property owed to you? Current value of the

portion you own?
Do not deduct secured
claims or exemptions.

28. Tax refunds owed to you

W No

(J Yes. Give specific information
about them, including whether :
you already filed the returns State:
and the tax years... eee :

 

Federal:

Local:

 

 

 

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

W No

 

 

 

 

 

Q) Yes. Give specific information.............. :
Alimony: $
Maintenance: $
Support: $
Divorce settlement: $
| Property settlement: $
30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else
No
C] Yes. Give specific information...............
$

 

 

 

Official Form 106A/B Schedule A/B: Property page 7
Case 8:20-bk-00183-CPM Doc1_ Filed 01/10/20 Page 18 of 68
Debtor 1 Clarence Gardener

First Name Middle Name Last Name

Case number (i known)

 

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

YW No

(J Yes. Name the insurance company

: vi Company name: Beneficiary: Surrender or refund value:
of each policy and list its value. ...

 

 

 

32. Any interest in property that is due you from someone who has died

If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

i No

CL) Yes. Give specific information..............

 

 

 

 

 

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

Wd No

L) Yes. Describe each claim. 0...

 

 

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

id No

C) Yes. Describe each claim. occ

 

 

35. Any financial assets you did not already fist

No
L} Yes. Give specific information............

 

 

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that mumber Were ooo... ccc cs ccceceeseesesosssesescsvevavevescssesaseessssssecssapesscsusesnsccesveusnsseecevecseavesssuvavavaacsnsesavaveceanes > $ 6.00

 

 

 

Ca Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 

37.Do you own or have any legal or equitable interest in any business-related property?
2 No. Go to Part 6.
LJ Yes. Go to line 38.
Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

38. Accounts receivable or commissions you already earned

id No
LJ Yes. Describe....... :

 

 

 

39. Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
4 No
C) Yes. Describe....... $

 

 

Official Form 106A/B Schedule A/B: Property page 8

 
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Debtor 1 Clarence Gardener Case number (if known)

First Name Middle Name Last Name

 

 

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

W No

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(J Yes. Describe....... $
41. Inventory
Wd No .
CL} Yes. Describe....... $
42. Interests in partnerships or joint ventures
i No
C) Yes. Describe....... Name of entity: % of ownership:
% $
% $
% $
43. Customer lists, mailing lists, or other compilations
Wf No
C) Yes. Do your fists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
LI No
LI Yes. Deseribe....... :
$
44. Any business-related property you did not already list
Wd No
CQ) Yes. Give specific $
information .........
$
$
$
$
$
45. Add the doliar value of all of your entries from Part 5, including any entries for pages you have attached $ 0.00
for Part 5. Write that mumber here o.oo. ccccccccccccccceseessssecescesseeesvsereresnenvecvesverseverecssreeessueressaseeerssurteenavensessiesrenseeessnnuecssneeessnees >

 

 

 

Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

 

46.Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
@ No. Go to Part 7.
CY Yes. Go to line 47.

Current value of the
portion you own?

Do not deduct secured claims

 

 

or exemptions.
47. Farm animals
Examples: Livestock, poultry, farm-raised fish
lf No
CD YES cece
$

 

Official Form 106A/B Schedule A/B: Property page 9
Case 8:20-bk-00183-CPM Doc1 Filed 01/10/20 Page 20 of 68

Debtor 1 Clarence Gardener Case number (it known)

 

 

First Name Middle Name Last Name

48. Crops—either growing or harvested

 

No :
CL] Yes. Give specific |
information. ........

 

 

 

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

W No

 

 

 

 

 

 

 

 

51. Any farm- and commercial fishing-related property you did not already list

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

YW no
L} Yes. Give specific
information. ............ : _
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached 0.00
for Part 6. Write that number here ooo ceo ccccc ces csssesssnsssssessvsusvecverarsesenseesessasesvessusssessyesssuvsuneestessuessassssesssassatenaseasiessieesseess >
Describe All Property You Own or Have an Interest in That You Did Not List Above
53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership
W No
C) Yes. Give specific -
information. ............ :
54. Add the dollar value of all of your entries from Part 7. Write that number here ...0...0cccccccccccccccecececccscssceseessessecsesesees > 0.00
List the Totals of Each Part of this Form
55.Part 1: Total real estate, Time Qo. cles esse scscsevecesssecsusssecsecesesssasvarusenecsvessess ces sesueavessacssssuevavsissssssvessesasessusisveessisesessisesusseverees > ___ 381,798.00
56. Part 2: Total vehicles, line 5 $ 0.00
57. Part 3: Total persona! and household items, line 15 $ 1,090.00
58. Part 4: Total financial assets, line 36 $ 6.00
59. Part 5: Total business-related property, line 45 $ 0.00
60. Part 6: Total farm- and fishing-related property, line 52 $ 0.00
61. Part 7: Total other property not listed, line 54 +S 0.00
62. Total personal property. Add lines 56 through 61. «00... S$ 1,090.00 Copy personal property total > +#¢ 1,090.00

 

63. Total of all property on Schedule AVB. Add line 55 + fine 62.00.00... ccecescsceseecsevsesceccececeseensusevsssessvacaceccsesescareassteceacace

Official Form 106A/B Schedule A/B: Property

 

 

382,888.00

 

page 10

 

 

 
Case 8:20-bk-00183-CPM Doc1 Filed 01/10/20 Page 21 of 68

Fill in this information to identify your case:

Debtor1 Clarence Gardener

First Name Middie Name Last Name

 

Debtor 2
(Spouse. if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Middle District of Florida

Case number C} Check if this is an
(I known) amended filing

 

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—-such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

| Part 1: | Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

C) You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
W You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on — Current vatue of the Amount of the exemption you claim Specific laws that allow exemption

 

 

 

 

 

Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption.
Schedule A/B
Brief on. Homestead Property. $350,000.00 Os 381,798.00
description: Homestead Froperty _ $
Line from 4 100% of fair market value, up to
Schedule A/B: 1 any applicable statutory limit
Scccription: Household Goods $800.00 Os 800.00
Line from 6 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
oseription: Electronics =: 150.00 Qs 150.00
Line from id 100% of fair market value, up to
Schedule A/B: 7 any applicable statutory limit

 

3. Are you claiming a homestead exemption of more than $170,350?
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

LJ No

W Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
CO} No
Yes

Official Form 106C Schedule C: The Property You Claim as Exempt page 1of
Case 8:20-bk-00183-CPM Doc1 Filed 01/10/20 Page 22 of 68
Clarence Gardener

Middle Name

Debtor 1 Case number (if known)

 

First Name

Additional Page

Brief description of the property and line
on Schedule A/B that lists this property

Last Name

Current value of the
portion you own

Amount of the exemption you claim Specific laws that allow exemption

Copy the value from

Check only one box for each exemption

 

 

 

 

 

 

 

 

 

 

 

 

Schedule A/B
Ace Jewelry sg 20.00 Q 20.00
description: : $ :
Line from 12 df 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief .
description:  RepositsofMoney _—s-_ $ 6.00 O¢ 6.00
Line from (a 100% of fair market value, up to
Schedule A/B: 17 any applicable statutory limit
Brief
description: $ Os
Line from CI 100% of fair market value, up to
Schedule A/B: ~~ any applicable statutory limit
Brief
description: $ Os
Line from C) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Lig
Line from C1 100% of fair market value, up to
Schedule A/B: ———— any applicable statutory limit
Brief
description: $ C$
Line from Q) 100% of fair market value, up to
Schedule A/B: ~~ any applicable statutory limit
Brief
description: 5 Lis
Line from Q) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Cis
Line from Q) 100% of fair market value, up to
Schedule A/B:. ———— any applicable statutory limit
Brief
description: $. Ls
Line from QD 100% of fair market value, up to
Schedule A/B: —_ any applicable statutory limit
Brief
description: $ Os
Line from CJ 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $. mS
Line from C1] 100% of fair market value, up to
Schedule A/B: ———— any applicable statutory limit
Brief
description: $ L$
Line from CJ 100% of fair market value, up to
Schedule A/B: any applicable statutory limit

Official Form 106C

Schedule C: The Property You Claim as Exempt

 

 

 

 

 

 

 

 

 

 

 

 

page 2 of
 

Case 8:20-bk-00183-CPM Doc1 Filed 01/10/20 Page 23 of 68

Fill in this information to identify your case:

Debtor 4 Clarence Gardener

First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Southern District of Florida

Case number
(if known}

 

 

 

Official Form 106D

 

CJ Check if this is an
amended filing

Schedule D: Creditors Who Have Claims Secured by Property 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any

additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?

CI No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

Ca Yes. Fill in all of the information below.

aoa List All Secured Claims

 

2. List all secured claims. if a creditor has more than one secured claim, list the creditor separately Amount of claim

for each claim. if more than one creditor has a particular claim, list the other creditors in Part 2.
As much as possible, list the claims in alphabetical order according to the creditor's name.

 

$

 

 

[2.4] Mr. Cooper Describe the property that secures the claim:
Creditor’s Name f
Homestead Property located at 17325
8950 Cypress Waters Blvd Hubers CT, Odessa, FL 33556

 

As of the date you file, the claim is: Check all that apply.

 

wy Contingent

 

Coppell TX 75019 TY, @ Unliquidated
City State ZIP Code ry 4 Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
i’ Debtor 1 only WW An agreement you made (such as mortgage or secured
(Debtor 2 only car loan)
C3} Debtor 1 and Debtor 2 only Q Statutory lien (such as tax lien, mechanic's lien)
LI} At least one of the debtors and another CI Judgment fien from a lawsuit

L) other (including a right to offset)
OQ) Check if this claim relates to a

community debt
Date debt was incurred 05/01/200€ Last 4 digits of account number 9 1 _ 3

[23

Creditor’s Name

 

 

 

 

Describe the property that secures the claim:

 

 

 

 

 

 

 

Column. A

Do net deduct the
value of collateral.

 

 

Column B Column C
Value of collateral _ Unsecured
that supports this -- portion
claim =o Hany

381,798.00 , 350,000.00,

 

 

 

 

Number Street :
As of the date you file, the claim is: Check all that apply.
QO) Contingent
QO) Unliquidated
City State ZIP Code QQ Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
CQ) Debtor 4 onty L) An agreement you made (such as mortgage or secured
C) Debtor 2 only car loan)
(J Debtor 1 and Debtor 2 only QO Statutory lien (such as tax lien, mechanic’s lien)
CJ At teast one of the debtors and another (Q) Judgment lien from a tawsuit
C) other {including a right to offset)
L] Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits of account number ee aa 300 )
Add the doilar value of your entries in Column A on this page. Write that number here: f J OV, UNS
Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of
 

Debtor 1

Case 8:20-bk-00183-CPM Doc1 Filed 01/10/20 Page 24 of 68

Clarence Gardener

Case number (if known)

 

First Name Middle Name

Additional Page

After listing any entries on this page, number them beginning with 2.3, followed

by 2.4, and so forth.

Last Name

Column A

Column B Column C
Amount of clainy Value of collateral Unsecured
Do not deduct the

 

 

that supports this. portion

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

value of collateral, claim Iany
Describe the property that secures the claim: $ $ $
Creditor's Name
Number Street
As of the date you file, the claim is: Check all that apply.
Q Contingent
City State ZIP Code O Unliquidated
a Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
CF Debtor 1 only QO) An agreement you made (such as mortgage or secured
QL) Debtor 2 only car loan)
Q] Debtor 1 and Debtor 2 only LI Statutory lien (such as tax lien, mechanic’s lien)
CJ Atleast one of the debtors and another CQ Judgment lien from a lawsuit
CJ other (including a right to offset)
(J Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits of account number oo
|| Describe the property that secures the claim: $ $ $
Creditor’s Name
Number Street : i
As of the date you file, the claim is: Check all that apply.
Q Contingent
CJ Unliquidated
City State ZIP Code Oo Disputed
2
Who owes the debt? Check one. Nature of lien. Check all that apply.
U) Debtor 4 only CL) An agreement you made (such as mortgage or secured
O) Debtor 2 only car joan)
L} Debtor 1 and Debtor 2 only Q) Statutory lien (such as tax lien, mechanic’s lien)
© Atleast one of the debtors and another ) Judgment lien from a lawsuit
. . includi i ffset,
Check if this claim relates to a Uther (including a right to offset
community debt
Date debt was incurred Last 4 digits of account number __ _
L_ | Describe the property that secures the claim: $ $ $

 

Creditors Name

 

 

 

Number Street

 

 

 

 

City State ZIP Code

Who owes the debt? Check one.

O OOCC

Debtor 1 only

Debtor 2 only

Debtor 1 and Debtor 2 only

At least one of the debtors and another

Check if this claim relates to a
community debt

Date debt was incurred

Official Form 106D

Add the dollar value of your entries in Column A on this page. Write that number here:

If this is the last page of your form, add the dollar value totals from all pages.

Write that number here:

As of the date you file, the claim is: Check all that apply.
Q Contingent

(2 Unliquidated

() Disputed

Nature of lien. Check all that apply.

CJ) An agreement you made (such as mortgage or secured
car loan)

Statutory lien (such as tax lien, mechanic's lien)
Judgment lien from a lawsuit

Other (including a right to offset)

Ooo

Last 4 digits of account number

Additional Page of Schedule D: Creditors Who Have Claims Secured by Property

 

page. of

 

 
Case 8:20-bk-00183-CPM Doci1 Filed 01/10/20 Page 25 of 68

Debtor 1 Clarence Gardener Case number (i known)

First Name Middle Name Last Name

 

 

Era List Others to Be Notified for a Debt That You Already Listed

 

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. if you do not have additional persons to
be notified for any debts in Part 1, do not fill out or submit this page.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

| On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number _
Number Street
City State ZIP Code
On which line in Part 1 did you enter the creditor?
Name Last 4 digits ofaccountnumber
Number Street
City State ZIP Code
L | On which line in Part 1 did you enter the creditor?
Name Last 4 digits ofaccountnumber
Number Street
City State ZIP Code
| On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number 0 1 =< 3
Number Street
City State ZIP Code
| On which line in Part 1 did you enter the creditor?
Name Last 4 digits ofaccountnumber
Number Street
City State ZIP Code
On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number ___ _ __.
Number Street

 

 

City State ZIP Code

 

 

Official Form 106D Part 2 of Schedule D: Creditors Who Have Claims Secured by Property page of
Case 8:20-bk-00183-CPM Doc1_ Filed 01/10/20 Page 26 of 68

 

aU CMM eam cem (e(-Ti Livan Zell mers ioe

Debtor1 Clarence Gardener

 

First Name Middle Name

Debtor 2

Last Name

 

(Spouse, if filing) First Name Middle Name

United States Bankruptcy Court for the: Middle District of Florida

Case number

Last Name

 

(if known)

 

 

Official Form 106E/F

 

Schedule E/F: Creditors Who Have Unsecured Claims

Q) Check if this is an
amended filing

12/15

 

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

ea List All of Your PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims against you?

id No. Go to Part 2.

Q) Yes.

2. List alt of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts. As much as possible, list the claims in. alphabetical order according to the creditor's name. if you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

 

 

 

 

 

 

 

 

 

 

 

 

Total claim Priority ” Nonpriotity
amount amount
2.1
Canterbury Glen HOA Inc Last 4 digits of account number 6 7 8 7 $ 150 00 $ $ 150 00
Priority Creditors Name ae
17510 Isbell Lane When was the debt incurred? 01/01/2017
Number Street
As of the date you file, the claim is: Check all that apply.
Odessa FL 33556 WZ continaent
City State ZIP Code ontingen
O unliquidated
Who incurred the debt? Check one. g Disputed
44 Debtor 1 only
(J Debtor 2 only Type of PRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only LY Domestic support obligations
At least one of the debtors and another Cl) Taxes and certain other debts you owe the government
U1 Check if this claim is for a community debt (J Claims for death or personal injury while you were
Is the claim subject to offset? intoxicated
No other. Specity HOA Fees
Q) Yes
2.2 | Last 4 digits ofaccountnumber $ $ $

Priority Creditors Name

 

Number Street

 

 

City State ZIP Code

Who incurred the debt? Check one.

C] Debtor 1 only

CI) Debtor 2 only

CQ) Debtor 1 and Debtor 2 only

L) At least one of the debtors and another

LJ Check if this claim is for a community debt

Is the claim subject to offset?

C2 No
CI) Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

 

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.
C} Contingent

CL) Unliquidated

QO Disputed

Type of PRIORITY unsecured claim:
CI Domestic support obligations

Taxes and certain other debts you owe the government

intoxicated

Q)
CJ) Claims for death or personal injury while you were
C) other. Specify

 

 

page 1 of
 

Debtor 1

 

Clarence GASRB20-bk-00183-CPM Doc1 Filed 01/10/20 Page 27 of 68

Case number (i known)

 

First Name Middle Name Last Name

ioe Your PRIORITY Unsecured Claims — Continuation Page

 

 

 

 

 

 

 

Nonpriority.

 

 

 

 

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth. Totalclaim Priority
oe amount |. amount...
Last 4 digits ofaccountnumber $ $ $
Priority Creditor’s Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check ail that apply.
L) Contingent
City State ZIP Code QQ) Untiquidated
() Disputed
Who incurred the debt? Check one.
CD Debtor 4 only Type of PRIORITY unsecured claim:
U1 Debtor 2 only C] Domestic support obligations
U) Debtor 1 and Debtor 2 only .
CJ Taxes and certain other debts you owe the government
(} At least one of the debtors and another . ao :
Q claims for death or personal injury while you were
C] Cheek if this claim is for a community debt intoxicated
C) other. Specify
Is the claim subject to offset?
LJ No
CJ Yes
: Last 4 digits ofaccountnumber $ $ $
Priority Creditor’s Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check ail that apply.
QO) Contingent
City State ZIP Code QQ) unliquidated
QO Disputed
Who incurred the debt? Check one.
QO) Debtor 1 only Type of PRIORITY unsecured claim:
U Debtor 2 only LY Domestic support obligations
C) Debtor 1 and Debtor 2 only :
(} Taxes and certain other debts you owe the government
CJ At least one of the debtors and another . a .
C) Claims for death or personal injury while you were
() Check if this claim is for a community debt intoxicated
C) Other. Specify
Is the claim subject to offset?
DO) No
Q) Yes
Last 4 digits of account number $ $ $

 

 

Priority Creditor's Name

 

Number Street

 

 

City State ZIP Code

Who incurred the debt? Check one.

C) Debtor 1 only

O Debtor 2 only

C) Debtor 4 and Debtor 2 only

C) At least one of the debtors and another

CJ Check if this claim is for a community debt

Is the claim subject to offset?

LJ) No
C] Yes

Official Form 106E/F

 

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

QO Contingent
QO Unliquidated
) Disputed

Type of PRIORITY unsecured claim:

Domestic support obligations
Taxes and certain other debts you owe the government

Claims for death or personal injury while you were
intoxicated

 

O Ooo

Other. Specify

 

Schedule E/F: Creditors Who Have Unsecured Claims

page

of
Debtor 1

 

First Name Middle Name Last Name

List All of Your NONPRIORITY Unsecured Claims

Clarence GASRr8;20-bk-00183-CPM Doc1 Filed 01/10/20 Page 28 of 68

Case number (i known)

 

3. Do any creditors have nonpriority unsecured claims against you?

No. You have nothing to report in this part. Submit this form to the court with your other schedules.

Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
nonpriority unsecured claim, list the. creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured

claims fill out the Continuation Page of Part 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

- Total claim
44 .
fe | Last 4 digits of account number
Nonpriority Creditor's Name $
When was the debt incurred?
Number Street
City State ZIP Code As of the date you file, the claim is: Check all that apply.
i) Contingent
Who incurred the debt? Check one. LJ unliquidated
C) Debtor 4 only OQ) Disputed
C) Debtor 2 only
(J Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
L) At least one of the debtors and another Student loans
CJ Check if this claim is for a community debt QO Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Is the claim subject to offset? C2 Debts to pension or profit-sharing plans, and other similar debts
UL) No (} Other. Specify
C) yes
4.2 Last4 digits ofaccountnumber $
Nonpriority Creditors Name When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
City State ZIP Code im) Contingent
Who incurred the debt? Check one. Q) Unliquidated
L) Debtor 4 only O Disputed
U) Debtor 2 only .
© Debtor 4 and Debtor 2 only Type of NONPRIORITY unsecured claim:
CJ At least one of the debtors and another LJ Student loans
aa. _ | Q Obligations arising out of a separation agreement or divorce
J Check if this claim is for a community debt that you did not report as priority claims
Is the claim subject to offset? C) Debts to pension or profit-sharing plans, and other similar debts
OQ) No Q) other. Specify
Yes
4.3 Se
Last 4 digits of accountnumber
Nonpriority Creditor's Name $

 

Number Street

 

City State ZIP Code

Who incurred the debt? Check one.

Q) Debtor 1 only

C) Debtor 2 only

L) Debtor 1 and Debtor 2 only

LL) At least one of the debtors and another

L) Check if this claim is for a community debt

Is the claim subject to offset?
CY No
C} Yes

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

C) Contingent
C) Unliquidated
QQ Disputed

Type of NONPRIORITY unsecured claim:

CJ Student loans

Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

QO
LJ Debts to pension or profit-sharing plans, and other similar debts
LY Other. Specify

 

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims page of
 

Debtor 1

 

 

 

 

 

First Name Middte Name Last Name

Clarence GaS@820-bk-00183-CPM Doc1 Filed 01/10/20 _ Page 29 of 68

Case number (i known)

Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

Last 4 digits of accountnumber |

 

: Total claim

 

 

 

 

 

 

 

 

 

Official Form 106E/F

_-—_ $
Nonpriority Creditors Name
When was the debt incurred?
Number Street
ime ree As of the date you file, the claim is: Check alt that apply.
City State ZIP Code O Contingent
Q Unliquidated
Who incurred the debt? Check one. QO Disputed
CJ Debtor 1 only
C) Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only C) student loans
At least one of the debtors and another QO) Obligations arising out of a separation agreement or divorce that
QO) Check if this claim is for a community debt you did not report as priority claims .
L) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? L) Other. Specify
LY No
2} Yes
Last 4 digits of account number Le $
Nonpriority Creditor’s Name
When was the debt incurred?
Number Street . we
As of the date you file, the claim is: Check ail that apply.
City State ZIP Code 2 Contingent
; U) unliquidated
Who incurred the debt? Check one. 0 Disputed
C} Debtor 1 only
LJ Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only CY Student loans
At least one of the debtors and another QO Obligations arising out of a separation agreement or divorce that
C] Check if this claim is for a community debt you did not report as priority claims .
(J Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? CQ) other. Specify
Q No
L} Yes
$

 

Nonpriority Creditor's Name

 

Number Street

 

City State ZIP Code

Who incurred the debt? Check one.

©) Debtor 4 only

CL] Debtor 2 only

Q) Debtor 1 and Debtor 2 only

CJ At least one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?

C3 No
CJ Yes

Last 4 digits of account number
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

Q Contingent
Q Unliquidated
Cl] Disputed

Type of NONPRIORITY unsecured claim:
Student loans

QO) Obligations arising out of a separation agreement or divorce that

you did not report as priority claims
C) Debts to pension or profit-sharing plans, and other similar debts
Q) other. Specify

 

 

Schedule E/F: Creditors Who Have Unsecured Claims

page

of
Debtor 1

 

First Name

Middle Name

Last Name

Clarence GAREB20-Dk-00183-CPM Doc1 Filed 01/10/20, Page 30 of 68

Case number (i know!

 

| Part 3: | List Others to Be Notified About a Debt That You Already Listed

 

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2; do not fill out or submit this page.

 

 

 

 

On which entry in Part 1 or Part 2 did you list the original creditor?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name
Line of (Check one): Q) Part 1: Creditors with Priority Unsecured Claims
Number Street QO) Part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of accountnumber
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): 1 Part 1: Creditors with Priority Unsecured Claims
Number Street () Part 2: Creditors with Nonpriority Unsecured
Claims
Last4 digits of accountnumber—
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): (I Part 1: Creditors with Priority Unsecured Claims
Number Street (J) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of accountnumber
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O Part 1: Creditors with Priority Unsecured Claims
Number Street C) Part 2: Creditors with Nonpriority Unsecured
Claims
7 Last 4 digits of account number Le
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): (] Part 1: Creditors with Priority Unsecured Claims
Number Street C1 Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of accountnumber—
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one}: O) Part 1: Creditors with Priority Unsecured Claims
Number Street Q) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of accountnumber—
City State ZIP Code
N On which entry in Part 1 or Part 2 did you list the original creditor?
ame
Line of (Check one): C] Part 1: Creditors with Priority Unsecured Claims
Number Street
C1 Part 2: Creditors with Nonpriority Unsecured
Claims
City Last 4 digits of account number —_ _

State

Official Form 106E/F

ZIP Code

Schedule E/F

 

 

 

: Creditors Who Have Unsecured Claims page of
Debtor 1

| rare Add the Amounts for Each Type of Unsecured Claim

 

First Name Middle Name Last Name

Clarence GASRr8;20-bk-00183-CPM Doc1 Filed 01/10/20 Page 31 of 68

Case number (if known)

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

Total claims
from Part 1

Total claims
from Part 2

Official Form 106E/F

6a.

6c.

6d.

6e.

Gh.

Gi.

Domestic support obligations

. Taxes and certain other debts you owe the

government

Claims for death or personal injury while you were
intoxicated

Other. Add all other priority unsecured claims.
Write that amount here.

Total. Add lines 6a through 6d.

. Student loans

. Obligations arising out of a separation agreement

or divorce that you did not report as priority
claims

Debts to pension or profit-sharing plans, and other
similar debts

Other. Add all other nonpriority unsecured claims.
Write that amount here.

6j. Total. Add lines 6f through 6i.

6a.

6b.

6c.

6d.

6e.

6f.

6g.

6h.

Gi.

gj.

Total claim

+5 750.00

 

 

 

5 750.00

 

Total claim

 

 

 

5 0.00

 

Schedule E/F: Creditors Who Have Unsecured Claims

page

of
 

 

Case 8:20-bk-00183-CPM Doc1 Filed 01/10/20 Page 32 of 68

Fill in this information to identify your case:

Debtor Clarence Gardener

First Name Middle Name Last Name

 

Debtor 2
(Spouse If filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Middle District of Florida

Case number

(If known) . C) Check if this is an
amended filing

 

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/15

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
C) Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle tease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for

2.1

 

Name

 

Number Street

 

City State ZIP Cade

 

2.2

 

Name

 

Number Street

 

City ; State ZIP Code
2.3

 

Name

 

Number Street

 

_City . State ZIP Code
2.4

 

Name

 

Number Street

 

City State ZIP Code

 

 

 

 

2.5

 

Name

 

Number Street

 

City State ZIP Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page 1 of
 

Case 8:20-bk-00183-CPM Doc1 Filed 01/10/20 Page 33 of 68

Debtori Clarence Gardener

 

First Name

Last Name

a Additional Page if You Have More Contracts or Leases

Person or company with whom you have the contract or lease

 

Name

 

Number

Street

 

City

State

ZIP Code

Case number (7 known)

What the contract or lease is for

 

 

 

 

Name

 

Number

Street

 

City

State

ZIP Code

 

 

 

Name

 

Number

Street

 

City

State

ZIP Code

 

 

 

Name

 

Number

Street

 

City

State

ZIP Code

 

 

 

 

Name

 

Number

Street

 

City

State

ZIP Code

 

 

Name

 

Number

Street

 

City

State

ZIP Code

 

 

 

Name

 

Number

Street

 

City

State

ZIP Code

 

 

Name

 

Number

Street

 

City

Official Form 106G

State

ZIP Code

Schedule G: Executory Contracts and Unexpired Leases

page

of
Case 8:20-bk-00183-CPM Doc1 Filed 01/10/20 Page 34 of 68

Fill in this information to identify your case:

Debtor 1 Clarence Gardener

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Middle District of Florida [|

Case number
{if known)

 

 

L) Check if this is an
amended filing

 

Official Form 106H
Schedule H: Your Codebtors 12/415

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 

 

 

 

 

 

1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)

i No
( Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

No. Goto line 3.
L} Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

C3) No

(J Yes. In which community state or territory did you live? . Fill in the name and current address of that person.

 

Name of your spouse, former spouse, or legal equivalent

 

Number Street

 

City State ZIP Code

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt
Check all schedules that apply:
3.4
C) Schedule D, line
Name
L} Schedule E/F, line
Number Street Q) Schedule G, line
City a State ZIP Code
3.2
OY Schedule D, line
Name
QO) Schedule E/F, line
Number Street CJ Schedule G, line
City . State ZIP Code
3.3
(3 Schedule D, line
Name —_—
{3 Schedule E/F, line
Number Street C) Schedule G, line
__ City . a State ZIP Code

 

Official Form 106H Schedule H: Your Codebtors page 1 of

 
Case 8:20-bk-00183-CPM Doc 1
Debtor 1 Clarence Gardener

 

First Name

p Additional Page to List More Codebtors

Column 1: Your codebtor

Middle Name

Last Name

Case number (if known)

 

 

 

Filed 01/10/20 Page 35 of 68

 

Column 2: The creditor to whom you owe the debt

Check ail schedules that apply:

C) Schedule D, line

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name
C) Schedule E/F, line
Number Street ) Schedule G, line
City State ZIP Code
CJ Schedule D, line
Name
C) Schedule E/F, line
Number Street QC} Schedule G, line
City State ZIP Code
CL] Schedule D, line
Name _—_
C) Schedule E/F, line
Number Street () Schedule G, line
City State ZIP Code
3
C) Schedule D, line
Name ——
C) Schedule E/F, line
Number Sireat O) Schedule G, line
5] City State ZIP Code
LJ Schedule D, line
Name —_
{Q Schedule E/F, line
Number Street QC) Schedule G, line
City State Z\P Code
P| (I Schedule D, line
Name ——-
[J Schedule E/F, line
Number Street Q) Schedule G, line
City _State ZIP Code
P- (3 Schedule D, line
Name —_—_—
QC) Schedule E/F, line
Number Street Q) Schedule G, fine
City State ZIP Code
Ba |
(3 Schedule D, line
Name —_—__
CQ) Schedule E/F, line
Number Street C} Schedule G, line
City State ZIP Code

 

Official Form 106H

Schedule H: Your Codebtors

page of
Case 8:20-bk-00183-CPM Doci1 Filed 01/10/20 Page 36 of 68

Fill in this information to identify your case:

Debtor 1 Clarence Gardener

 

First Name Middle Name

Debtor 2

Last Name

 

(Spouse, if filing) First Name Middle Name

United States Bankruptcy Court for the: Middle District of Florida

Case number

Last Name

 

(if known)

 

 

Official Form 106l

 

Schedule I: Your Income

Check if this is:
CJ An amended filing

CJ A supplement showing postpetition chapter 13
income as of the following date:

MM / DD/ YYYY

12/15

 

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. if you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

| Part 4: | Describe Employment

1. Fillin your employment
information.

If you have more than one job,
attach a separate page with
information about additional
employers.

Employment status

Include part-time, seasonal, or
self-employed work.

Occupation
Occupation may include student P
or homemaker, if it applies.

Employer’s name

Employer’s address

Debtor 1

Debtor 2 or non-filing spouse

 

4 Employed
L) Not employed

Car Sales

Wy Employed
QC Not employed

Administrative Assistant

 

Sunny Day Auto Sales

BioMedTech Laboratories

 

6304 N. Florida Ave

3802 Spectrum Blvd

 

 

 

 

Number Street Number Street
Suite 154
Tampa FL 33604 Tampa FL 33612
City State ZIP Code City State ZIP Code

How long employed there? 2 pe {S

Give Details About Monthly Income

4 months

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing

spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
below. If you need more space, attach a separate sheet to this form.

 

2. List monthly gross wages, salary, and commissions (before all payroll

deductions). If not paid monthly, calculate what the monthly wage would be. 2.

3. Estimate and list monthly overtime pay.

4. Calculate gross income. Add line 2 + line 3.

Official Form 1061

 

 

For Debtor 1 For Debtor 2 or
non-filing spouse
g 1,950.00 g 3,500.00
3. +3 0.00 +4 0.00
4. | ¢ 1,950.00 ¢ 3,500.00

 

 

 

 

 

Schedule I: Your Income

page 1
 

Official Form 106!

Case 8:20-bk-00183-CPM Doc1 Filed 01/10/20 Page 37 of 68

Debtor 14 Clarence Gardener

First Name Middle Name Last Name

 

Copy lime 4 Were... cece cccssessesseescsseccsvsscsesssesesseseseeevsavavsnsavecnuvevsnseseeaeeens > 4.

5. List all payroll deductions:

Sa. Tax, Medicare, and Social Security deductions
5b. Mandatory contributions for retirement plans
5c. Voluntary contributions for retirement plans
5d. Required repayments of retirement fund loans
Se. Insurance

5f. Domestic support obligations

5g. Union dues
Sh. Other deductions. Specify:

 

6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.

7. Calculate total monthly take-home pay. Subtract line 6 from line 4.

8. List alt other income regularly received:

8a. Net income from rental property and from operating a business,
profession, or farm

Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total
monthly net income.

8b. Interest and dividends

anon oO oO wa
~ Oo 29 F ®

a a
= a

6.

8a.
8b.

8c. Family support payments that you, a non-filing spouse, or a dependent

regularly receive

Include alimony, spousal support, child support, maintenance, divorce
settlement, and property settlement.

8d. Unemployment compensation
8e. Social Security

8f. Other government assistance that you regularly receive

8c.

8d.
8e.

Include cash assistance and the value (if known) of any non-cash assistance

that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.

Specify:

 

8g. Pension or retirement income

8h. Other monthly income. Specify: Seasonal Tax Prep

 

9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + &f +8g + 8h.

10. Catculate monthly income. Add line 7 + line 9.
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.

11.

8f.

8g.
8h.

10.

State all other regular contributions to the expenses that you list in Schedule J.

Case number (i known)

For Debtor 1

 

sess

  

For Debtor 2 or

filing spouse...

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other

friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

Specify:

 

12.

Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies

13.Do you expect an increase or decrease within the year after you file this form?

CI No.

Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.

 

 

 

 

g 1,950.00 ¢ 3,500.00
$ $ 980.00
$ $
$ $
$ $
$ $
$ §
$ $
+$ + $
$ 0.00 $ 980.00
3 1,950.00 g 2,520.00
$ $
$ $
$ $
$ $
$ $
$ $
$ $
+$ +$ 542.00
$ 0.00 $ 542.00
¢ 1,950.00] 4 g 3,962.00 $ 5,554.00
11+ gsi. 00
42, 6_9:554.00
Combined

monthly income

 

W Yes. Explain: decrease due to a job change and another child going fo college

 

 

 

Schedule I: Your Income

page 2
Case 8:20-bk-00183-CPM Doc1 Filed 01/10/20 Page 38 of 68

Fill in this information to identify your case:

Debtor1 Clarence Gardener eo.
First Name Middte Name. Last Name Check if this Is:

 

Debtor 2 a1
(Spouse, if filing) First Name Middle Name Last Name U An amended filing

QA supplement showing posipetition chapter 13
[=] expenses as of the following date:

 

United States Bankruptcy Court for the: Middle District of Florida

Case number
(if known)

 

MM / DD/ YYYY

 

 

Official Form 106J
Schedule J: Your Expenses 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Ce Describe Your Household

1. Is this a joint case?

 

A No. Go to line 2.
LJ Yes. Does Debtor 2 live ina separate household?

C) No
L) Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 

 

 

 

 

 

 

2. Do you have dependents? L) No
Dependent’s relationship to Dependent’s Does dependent live
Do not list Debtor 1 and © Yes. Fill out this information for Debtor 1 or Debtor 2 age with you?
Debtor 2. each dependent............cccecceeees Q
Do not state the dependents’ Wife 42 u No
names. Yes
Daughter 47 U No
“i Yes
Daughter 9 U No
| Yes
Daughter 8 UO) No
: 4 Yes
Son 20 Zi no
CI Yes
3. Do your expenses include W No

expenses of people other than
yourself and your dependents? Q) Yes

re Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

 

 

Include expenses paid for with non-cash government assistance if you know the value of

 

 

 

such assistance and have included it on Schedule I: Your Income (Official Form 1061.) Your expenses

4. The rental or home ownership expenses for your residence. Include first mortgage payments and 5 _ 623.00.
any rent for the ground or lot. 4. 2
If not included in line 4:
4a. Real estate taxes Aa. $
4b. Property, homeowner's, or renter’s insurance 4b. $
4c. Home maintenance, repair, and upkeep expenses 4c. $ 150.00
4d. Homeowner's association or condominium dues 4d. $ 21.00

Official Form 106J Schedule J: Your Expenses page 1
Case 8:20-bk-00183-CPM Doc1 Filed 01/10/20 Page 39 of 68

Debtor Clarence Gardener

16.

17.

18.

19.

20.

Official Form 106J

 

First Name Middle Name Last Name

Additional mortgage payments for your residence, such as home equity loans
Utilities:

6a. Electricity, heat, natural gas

6b. Water, sewer, garbage collection

6c. Telephone, cell phone, Internet, satellite, and cable services

6d. Other. Specify:

 

Food and housekeeping supplies

Childcare and children’s education costs
Clothing, laundry, and dry cleaning
Personal care products and services
Medical and dental expenses

Transportation. Include gas, maintenance, bus or train fare.
Do not include car payments.

Entertainment, clubs, recreation, newspapers, magazines, and books

Charitable contributions and religious donations

Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance
15b. Health insurance
15c. Vehicle insurance

15d. Other insurance. Specify:

 

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

 

Installment or lease payments:
17a, Car payments for Vehicle 1
17. Car payments for Vehicle 2

17c. Other. Specify:

 

17d. Other. Specify:

 

Case number (if known}

Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule I, Your Income (Official Form 1061).

Other payments you make to support others who do not live with you.

Specify:

 

Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

20a. Mortgages on other property

20b. Real estate taxes

20c. Property, homeowner's, or renter’s insurance
20d. Maintenance, repair, and upkeep expenses

20e. Homeowner’s association or condominium dues

Schedule J: Your Expenses

6a.
6b.
6c.

6d.

10.

11.

12.

43.

14.

15a.
15b.
15c.

15d.

17a.
17b.
1Tc.

17d.

20a.
20b.
20c.
20d.

20e.

Your expenses

$

5 250.00

$ 75.00

$ 530.00

$

5 800.00

$ 1 OD 45000 ~

$ 100.00

$_ 100.00

$ 40.00

$ 350.00

5 100.00
100.00

$

$

5 390.00

$

$

$ _

$

$

$

$

$

$

$

$

$

$

 

page 2

 
Case 8:20-bk-00183-CPM Doc1 Filed 01/10/20 Page 40 of 68

Debtor 1 Clarence Gardener

First Name Middle Name Last Name

 

21. Other. Specify:

 

22. Calculate your monthly expenses.
22a. Add tines 4 through 21.
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2

22c. Add line 22a and 22b. The result is your monthly expenses.

23. Calculate your monthly net income.

23a. Copy line 12 (your combined monthly income) from Schedule 1.

23b. Copy your monthly expenses from tine 22c above.

23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income.

Case number (if known)

21.

22a.

22b.

22c.

23a

23b

23c.

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

CJ No.

 

+5

S22 q
$ 4,209.00
$ 0.00
S527 ATTIOO 7 _xrrs00

 

 

 

§ 5,554.00

| _5dLF aa

ws —_
s 425 asar

 

 

 

 

 

Yes. Explain here: increase due to another child going to college

 

Official Form 106J Schedule J: Your Expenses

page 3
Case 8:20-bk-00183-CPM Doc1 Filed 01/10/20 Page 41 of 68

Fill in this information to identify your case:

Debtor 4 Clarence Gardener

First Name Middie Name Last Name

Debtor 2
(Spouse, if filing} First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Middle District of Florida

Case number
(If known)

 

 

UL) Check if this is an
amended filing

 

Official Form 106Dec
Declaration About an Individual Debtor’s Schedules 42/15

If two married people are filing together, both are equally responsible for supplying correct information.

 

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or

obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Did you pay or agree to pay Someone who is NOT an attorney to help you fill out bankruptcy forms?

WW No

UL) Yes. Name of person . Attach Bankruptcy Petition Preparer’s Notice, Declaration, and

Signature (Official Form 119).

 

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

ignature of Debtor 1 Signature of Debtor 2

 

Date 01/09/2020 Date

MM/ BD /{ YYYY MM/ DD / YYYY

 

Official Form 106Dec Declaration About an Individual Debtor’s Schedules
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Fill in this information to identify your case:

Debtor 4 Clarence Gardener

First Name Middie Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middie Name Last Name

 

| United States Bankruptcy Court for the: Middle District of Florida

Case number
(If known) CJ Check if this is an
amended filing

 

 

 

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

a Give Details About Your Marital Status and Where You Lived Before

 

1. What is your current marital status?

4 married
(J Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

HW No

CI} Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1: Dates Debtor 1 Debtor 2: Dates Debtor 2
lived there lived there
Q Same as Debtor 4 QO Same as Debtor 4
From From
Number Street Number Street
To To
City State ZIP Code City State ZIP Code
CL) same as Debtor 1 LJ same as Debtor 4
From From
Number Street Number Street
To To
City State ZIP Code City State ZIP Code

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

HW No

CJ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Ez Explain the Sources of Your Income

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 1

 
Case 8:20-bk-00183-CPM Doc1 Filed 01/10/20 Page 43 of 68

Debtor1 Clarence Gardener

 

First Name Middle Name

Last Name

Case number (if known)

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities,
If you are fiting a joint case and you have income that you receive together, list it only once under Debtor 1.

O) No
Yes. Fill in the details.

From January 1 of current year until
the date you filed for bankruptcy:

For last calendar year:

 

Sources of income
Check all that apply.

4 Wages, commissions,
bonuses, tips

C) Operating a business

uf Wages, commissions,
bonuses, tips

(January 1 to December 31,2019 ) UD operating a business

YYYY

For the calendar year before that:

(January 1 to December 31,2018

YYYY

4 Wages, commissions,
bonuses, tips

)O Operating a business

 

Gross income

(before deductions and
exclusions)

$ 600.00

$ __ 24,000.00

§ 18,000.00

5. Did you receive any other income during this year or the two previous calendar years?
Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

Debtor 2

Sources of income
Check all that apply.

Y Wages, commissions,

bonuses, tips
C) Operating a business

wf Wages, commissions,
bonuses, tips

C) Operating a business

w Wages, commissions,
bonuses, tips

C) Operating a business

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

W No
CU) Yes. Fill in the details.

From January 1 of current year until
the date you filed for bankruptcy:

For last calendar year:

(January 1 to December 31,2019 )
yyy

For the calendar year before that:

(January 1 to December 31,2018 _ )
YYYY

Official Form 107

 

Sources of income
Describe below.

Gross income from
each source

(before deductions and
exclusions)

 

Sources of income
Describe below.

 

 

 

 

 

 

 

Statement of Financial Affairs for Individuals Filing for Bankruptcy

Gross income

(before deductions and
exclusions)

§ 880.00
s 18,000.00
$ __ 17,000.00

 

Gross income from
each source

(before deductions and
exclusions)

page 2
List CertdaeanBedOs WkaGhe SSR oul ed tor Faikedpay10/20 Page 44 of 68

 

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
CL] No. Neither Debtor 4 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

LJ) No. Go to line 7.

C) Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

Wi Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

Wi No. Go to line 7.
C] Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that

creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

 

 

Dates of Total amount paid Amount you still owe Was this payment for...
payment
- 5 $ C) Mortgage
Creditor’s Name
CJ car
Number Street CI credit card

LI Loan repayment

 

L) Suppliers or vendors

 

City State ZiP Code C} other

$ $ Q Mortgage
CV car

L) credit card

 

 

Creditor's Name

 

Number Street

Q) Loan repayment

 

Q Suppliers or vendors

 

 

 

City State ZIP Code Q) Other __
$ $ C) Mortgage
Creditors Name
C) car
CQ credit card

 

Number Street

L) Loan repayment

 

| Suppliers or vendors
C) other

 

City State ZIP Code

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 3
Debtor? Clarence Gardener

 

First Name

Last Name

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Case number (if knawn)

 

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing

agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
such as child support and alimony.

A No

C) Yes. List all payments to an insider.

Dates of
payment

 

insider's Name

 

Number Street

 

 

City

State ZIP Code

 

Insider's Name

 

Number Street

 

 

City

State ZIP Code

Total amount Amount you still, Reason for this payment
paid owe

 

 

.

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited

an insider?

Include payments on debts guaranteed or cosigned by an insider.

W No

Q) Yes. List all payments that benefited an insider.

Dates of
payment

 

Insider's Name

 

Number Street

 

 

City

State ZIP Code

 

Insider's Name

 

Number Street

 

 

City

Official Form 107

State ZIP Code

Total amount Amount you still Reason for this payment

i os
paid owe include creditor's name

 

Statement of Financial Affairs for Individuals Filing for Bankruptcy page 4

 
Case 8:20-bk-00183-CPM Doc1 Filed 01/10/20 Page 46 of 68

Debtor Clarence Gardener

First Name Middle Name Last Name

Case number (if known)

 

 

ar Identify Legal Actions, Repossessions, and Foreclosures

 

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
and contract disputes.

L} No
Wi Yes. Fill in the details.

 

 

 

 

 

 

 

 

Nature of the case Court or agency Status of the case
Foreclosure rer
i Circuit Civil
Case title US National Banking Ass a @ Pending
. 0
v. Clarence Gardener, et al 800 E Twiggs St C1 on appear
Number Street CL) Concluded
Case number 17CA009602 Tampa FL 33602
City State ZIP Code
Case title Court Name Q) Pending
CL) on appeal
Number Street QO Concluded
Case number
City State ZIP Code

 

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.

CI] No. Go to line 11.
Wf Yes. Fill in the information below.

 

 

 

 

Describe the property Date Value of the property
Homestead Property
Mr. Cooper 17325 Hubers Ct 12/16/2019 ¢ 350,000.00
Creditors Name Odessa, FL 33556
8950 Cypress Waters Blvd
Number Street Explain what happened

(J Property was repossessed.

 

uw Property was foreclosed.

 

Coppell ™ 75019 | Property was garnished.
City State ZIP Code C) Property was attached, seized, or levied.

 

 

Describe the property Date Value of the property

 

Creditor’s Name

 

 

Number Street
Explain what happened

CL) Property was repossessed.

 

() Property was foreclosed.

 

C} Property was garnished.
City State ZIP Code perly 9

CL) Property was attached, seized, or levied.

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 5
Case 8:20-bk-00183-CPM Doc1 Filed 01/10/20 Page 47 of 68

Debtor 4 Clarence Gardener

First Name Middle Name Last Name

 

Case number (if known)

 

11, Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

A No

LJ Yes. Fill in the details.

 

 

 

 

 

Describe the action the creditor took Date action Amount
was taken
Creditors Name
$
Number Street
City State ZIP Code Last 4 digits of account number: XXXX—

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

No
Q] Yes

List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

W No
CJ Yes. Fill in the details for each gift.

 

 

 

 

 

 

 

 

 

 

Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts
$
Person to Whom You Gave the Gift
$
Number Street
City State ZIP Code
Person’s relationship to you
Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person / / the gifts
3
Person to Whom You Gave the Gift
$

 

 

Number = Street

 

City State ZIP Code

Person’s relationship to you

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 6

 

 
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Debtor 4 Clarence Gardener

Case number (if known)
First Name Middle Name Last Name

 

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
wf No

I) Yes. Fill in the details for each gift or contribution.

 

Gifts or contributions to charities Describe what you contributed Date you Value
that total more than $600 contributed
$
Charity’s Name

 

 

Number Street

 

City State ZIP Code

List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

WY No

CJ Yes. Fill in the details.

Describe the property you lost and Describe any insurance coverage for the loss Date of your Value of property
how the loss occurred ; oo, oo loss lost
Include the amount that insurance has paid. List pending insurance
claims on line 33 of Schedule A/B: Property.
$

List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?

include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

No
C) Yes. Fill in the details.

Description and value of any property transferred Date payment or

 

 

 

 

 

Amount of payment
transfer was
Person Who Was Paid made
Number Street $
$

 

City State ZIP Code

 

Email or website address

 

Person Who Made the Payment, if Not You

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 7

 

 

 
 

 

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Debtor 4 Clarence Gardener

Case number (if known)
First Name Middle Name Last Name

 

 

Description and vaiue of any property transferred Date payment or Amount of
transfer was made payment

 

 

Person Who Was Paid

 

Number Street

 

 

City State ZIP Code

 

Email or website address

 

Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

W no

CJ Yes. Fill in the details.

 

 

 

 

 

Description and value of any property transferred Date payment or Amount of payment
transfer was
made
Person Who Was Paid
Number Street $
$

 

City State ZIP Code

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?

Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement.

H No

CL} Yes. Fill in the details.

Description and value of property Describe any property or payments received Date transfer
transferred or debts paid in exchange was made

 

 

Person Who Received Transfer

 

Number Street

 

 

City State ZIP Code

 

Person's relationship to you

 

Person Who Received Transfer

 

Number Street

 

 

 

City State ZIP Code

Person’s relationship to you

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 8

 
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Debtor 4 Clarence Gardener

First Name Middle Name Last Name

Case number (if known)

 

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called asset-protection devices.)

No
CJ Yes. Fill in the details.

Description and value of the property transferred Date transfer
was made

Name of trust

 

 

eT tise Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, sold, moved, or transferred?

Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

UW No

Cd Yes. Fill in the details.

 

 

Last 4 digits of account number Type of account or Date account was Last balance before
instrument closed, sold, moved, — closing or transfer
or transferred
Name of Financial Institution .
XXXX-__ C) checking ee $
Number Street Q Savings

QO Money market

 

| Brokerage

 

 

 

City State ZIP Code QO Other
XXXX- OQ) Checking $
Name of Financial institution
Q Savings
Number Street OQ) Money market

| Brokerage

 

QQ) Other.

 

City State ZIP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?

WW No
LJ Yes. Fill in the details.

 

 

Who else had access to it? Describe the contents Do you still
have it?
UL) No
Name of Financiat Institution Name Cl Yes

 

 

Number Street Number Street

 

 

City State ZIP Code

 

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 9

 

 
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Debtor 1 Clarence Gardener

First Name Middle Name Last Name

Case number (if known)

 

22.Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
| No

(] Yes. Fill in the details.

 

 

Who else has or had access to it? Describe the contents Do you still
have it?
- OINo
Name of Storage Facility Name : QO Yes
Number Street Number Street

 

CityState ZIP Code

 

City State ZIP Code

Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
or hold in trust for someone.

w No
CL) Yes. Fill in the details.

Where is the property? Describe the property Value

 

Owner's Name $

 

 

Numb Street
Number Street

 

 

 

 

City State ZIP Code
City State ZIP Code

re Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

« Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

s Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

® Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

Wi No

CQ Yes. Fill in the details.

 

 

 

 

Governmental unit Environmental law, if you know it Date of notice
Name of site Governmental unit
Number Street Number Street
City State ZIP Code

 

 

City State ZIP Cade

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 10

 
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Debtor 4 Clarence Gardener

First Name Middle Name Last Name

Case number (if known)

 

 

25. Have you notified any governmental unit of any release of hazardous material?

W No

C) Yes. Fill in the details.

 

 

 

 

 

Governmental unit Environmental law, if you know it Date of notice
Name of site Governmental unit
Number Street Number Street

City State ZIP Code

 

City State ZIP Code

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

W No

Cl Yes. Fill in the detaits.

 

 

 

 

 

Court or agency Nature of the case Status of the
case
Case title QO :
Court Name Pending
Q On appeal
Number Street Q Concluded
Case number City State ZIP Gode

Cu Give Details About Your Business or Connections to Any Business

 

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
CJ Asole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
w A member of a limited liability company (LLC) or limited liability partnership (LLP)
OA partner in a partnership
C3 An officer, director, or managing executive of a corporation

C2) An owner of at least 5% of the voting or equity securities of a corporation

CJ No. None of the above applies. Go to Part 12.
CI) Yes. Check all that apply above and fill in the details below for each business.

Describe the nature of the business Employer identification number

Gardener Enterprises LLC

~ Do not. include Social Security number or ITIN.
Business Name

 

 

 

 

 

 

 

 

 

Transportation
17325 Hubers CT EIN; 8 3-2 98 7 4 9 6 1°
Number Street bees a . :
Name of accountant or bookkeeper Dates business existed
na 12/07/2019 Te 01/09/2020
Odessa FL 33556 From (4 Tore
City State ZIP Code oo
Describe the nature of the business Employer Identification number
7 Do not include Social Security number or ITIN.
Business Name
EIN; o-oo
Number Street
Name of accountant or bookkeeper Dates business existed
| From To

 

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 11

 

 

 

 

 
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Debtor 1 Clarence Gardener Case number (if known)

First Name Middle Name Last Name

 

 

Describe the nature of the business Employer identification number

Do not include Social Security number or ITIN.

 

 

Business Name

 

 

 

EIN:
Number Street . .
Name of accountant or bookkeeper Dates business existed
From To

 

City State ZIP Code

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

WY No

C) Yes. Fill in the details below.

Date issued

 

 

Name MM /DD/ YYYY

 

Number Street

 

 

City State ZIP Code

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the
answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and.3$74,.

a =~ oe

  

x

 

 

 

dpe,
Signature of Debtor 1 Signature of Debtor 2
Date 01/09/2020 Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

4 No
C) Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
W No

CY Yes. Name of person . Attach the Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 119).

 

 

 

 

 

 

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 12
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Fill in this information to identify your case:

Debtor 4 Clarence Gardener

First Name Middie Name Last Name

 

Debtor 2
(Spouse. if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Middle District of Florida [=]

Case number C} Check if this is an
(If known) amended filing

 

 

 

Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7 ia

 

If you are an individual filing under chapter 7, you must fill out this form if:

™ creditors have claims secured by your property, or

™@ you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information.

Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

Ea List Your Creditors Who Have Secured Claims

 

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
information below.

Identify the creditor and the property that is collateral What do you intend to do with the property that Did you claim the property
secures a debt? as exempt on Schedule C?
Creditor's CJ Surrender the property. CU No

. Mr. Cooper
name:
UL) Retain the property and redeem it. a Yes
Description of Homestead Property
property
securing debt:

A Retain the property and enter into a
Reaffirmation Agreement.

CI) Retain the property and [explain]:

 

 

 

 

Creditor’s (J Surrender the property. LJ No
name:

, CL) Retain the property and redeem it. () Yes
D ipti f
property ° Retain the property and enter into a
securing debt: Reaffirmation Agreement.

C} Retain the property and [explain]:

Creditor's (J Surrender the property. LJ No
name:

CJ Retain the property and redeem it. C] Yes
Description of
property
securing debt:

C) Retain the property and enter into a ©
Reaffirmation Agreement.

LJ Retain the property and [explain]:

 

 

 

Creditor’s LJ Surrender the property. QI No
name:

C) Retain the property and redeem it. Yes
Description of
property
securing debt:

CJ Retain the property and enter into a
Reaffirmation Agreement.

CJ] Retain the property and [explain]:

 

Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 page 1
Case 8:20-bk-00183-CPM Doc1 Filed 01/10/20 Page 55 of 68

Debtor 1 Clarence Gardener Case number (if known)

 

 

First Name Middle Name Last Name

er List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 

 

 

 

 

 

 

 

 

 

Describe your unexpired personal property leases Will the lease be assumed?

Lessor’s name: OC No
C) Yes

Description of leased

property:

Lessor’s name: CJ) No

Description of leased LI Yes

property:

Lessor’s name: QINo

Description of leased L} Yes

property:

Lessor’s name: L) No
C} Yes

Description of leased

property:

Lessor’s name: LI No
Li Yes

Description of leased

property:

Lessor’s name: QO No

a QC) Yes

Description of leased

property:

Lessor’s name: CJ No
C) Yes

Description of leased
property:

 

Under penalty of perjury, 1 declare that | have indicated my intention about any property of my estate that secures a debt and any
personal ty that pe SUBIET an unexpired lease.
ae

a <

  
 
 
  

x

 

 

Signature of Debtor 1 Signature of Debtor 2
Date 01/09/2020 Date
MM/ DD / YYYY MM/ DD/ YYYY

Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 page 2
Case 8:20-bk-00183-CPM Doc1 Filed 01/10/20 Page of 68 ;

     

Fill in this information to identify your case: Check one box only as directed in this form and in

Form 122A-1Supp:

Debtor 4 Clarence Gardener

 

 

 

First Name Middle Name Last Name
C} 1. There is no presumption of abuse.
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name 2. The caiculation to determine if a presumption of
; . . abuse applies will be made under Chapter 7

United States Bankruptcy Court for the: Middle District of Florida Means Test Calculation (Official Form 122A-2).
Case number L} 3. The Means Test does not apply now because of
(if known) qualified military service but it could apply later.

 

 

CJ Check if this is an amended filing

Official Form 122A—1

 

Chapter 7 Statement of Your Current Monthly Income 12/49

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

| Part 4: Calculate Your Current Monthly Income

1. What is your marital and filing status? Check one only.
C) Not married. Fill out Column A, lines 2-11.
Q) Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
i Married and your spouse is NOT filing with you. You and your spouse are:
a Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

LJ Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
under penaity of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

 

Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
income from that property in one column only. If you have nothing to report for any line, write $0 in the space.

Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse

_ 2. Your gross wages, salary, tips, bonuses, overtime, and commissions
(before all payroll deductions). $_ 1,950.00 $__ 3,962.00

| 3. Alimony and maintenance payments. Do not include payments from a spouse if
Column B is filled in. $e $

4. Ail amounts from any source which are regularly paid for household expenses
of you or your dependents, including child support. include regular contributions
from an unmarried partner, members of your household, your dependents, parents,
and roommates. Include regular contributions from a spouse only if Column B is not

 

 

filled in. Do not include payments you listed on line 3. So $
5. Net income from operating a business, profession, Debtor 4 Debtor 2

or farm

Gross receipts (before all deductions) $  _—s_—« $

Ordinary and necessary operating expenses -$ -$

Net monthly income from a business, profession, or farm g $ poPy $ 5
. 6. Net income from rental and other real property Debtor 1 Debtor 2

Gross receipts (before all deductions) $ $

Ordinary and necessary operating expenses -—$ -§

Net monthly income from rental or other real property $ $ ropy

: 7. Interest, dividends, and royalties

 

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page 1

 
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Debtor 1 Clarence Gardener Case number (if known)
First Name Middle Name Last Name
Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse
8. Unemployment compensation $ $

Do not enter the amount if you contend that the amount received was a benefit
under the Social Security Act. Instead, list it here: 0... eee

 

9. Pension or retirement income. Do not include any amount received that was a
benefit under the Social Security Act. Also, except as stated in the next sentence, do
not include any compensation, pension, pay, annuity, or allowance paid by the
United States Government in connection with a disability, combat-related injury or
disability, or death of a member of the uniformed services. If you received any retired
pay paid under chapter 61 of title 10, then include that pay only to the extent that it
does not exceed the amount of retired pay to which you would otherwise be entitled if
retired under any provision of title 10 other than chapter 61 of that title. S$ $

10. Income from all other sources not listed above. Specify the source and amount.
Do not include any benefits received under the Social Security Act; payments received
as a victim of a war crime, a crime against humanity, or international or domestic
terrorism; or compensation, pension, pay, annuity, or allowance paid by the United
States Government in connection with a disability, combat-related injury or disability, or
death of a member of the uniformed services. If necessary, list other sources on a
separate page and put the total below.

 

 

 

Total amounts from separate pages, if any. +3 +3

 

- 11. Calculate your total current monthly income. Add lines 2 through 10 for each + _
: column. Then add the total for Column A to the total for Column B. $ 1,950.00 $ 3,962.00 = $ 5,554.00)

Total current
monthly income

 

 

 

 

 

 

Er Determine Whether the Means Test Applies to You

 

 

12. Calculate your current monthly income for the year. Follow these steps:

12a. Copy your total current monthly income from FINE 14. cece es neeseeeeeenesneereseveresnereseseereeesneceeseneeneates Copy line 11 here> i, 5,554.00
Multiply by 12 (the number of months in a year). x 12
12b. The result is your annual income for this part of the form. 12b. $ 66,648.00 .

13. Calculate the median family income that applies to you. Follow these steps:

 

 

 

 

 

 

 

Fill in the state in which you live. Florida
Fill in the number of people in your household. 5
Fill in the median family income for your state and size Of NOUSENONG. cece eeeeee tees eee eeeceeeseeseeaneanenenneenseneseeentansesensenceneny 13. $ 85,353.06

 

 

 

To find a list of applicable median income amounts, go online using the link specified in the separate
instructions for this form. This list may also be available at the bankruptcy clerk’s office.

- 14. How do the fines compare?

14a, @ Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
Go to Part 3. Do NOT fill out or file Official Form 122A-2

14b. LJ Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
Go to Part 3 and fill out Form 122A-2.

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly income page 2
Case 8:20-bk-00183-CPM Doc1 Filed 01/10/20 Page 58 of 68

 

 

 

  

 

 

Debtor 1 Clarence Gardener Case number (itknown)
First Name. Middle Name Last Name
Ea Sign Below
. nO
By signing OF jaclare-cinder penalty of ped that the information on this statement and in any attachments is true and correct.
”
wn wt
aA 2 x
LS oe
Cc co
Signature of Debtor 1 Signature of Debtor 2
pate 01/09/2020 Date
MM/ DD /YYYY MM/ DD /YYYY

{f you checked line 14a, do NOT fill out or file Form 122A—2.
If you checked line 14b, fill out Form 122A—2 and file it with this form.

 

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page 3
Case 8:20-bk-00183-CPM Doc1 Filed 01/10/20 Page 59 of 68

Fill in this information to identify your case: ae ST hele Reet eee

lines 40 or 42:
Debtor 4 Clarence Gardener

First Name Middle Name Last Name

According to the calculations required by

this Statement:
Debtor 2

(Spouse, if filing) First Name Middle Name Last Name

 

CJ 4. There is no presumption of abuse.

United States Bankruptcy Court for the: Middle District of Florida [=| C] 2. There isa presumption of abuse.

 

 

Case number
(if known)

 

C) Check if this is an amended filing

 

 

Official Form 122A—2
Chapter 7 Means Test Calculation 04/19

To fill out this form, you will need your completed copy of Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1).

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space

is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional
pages, write your name and case number (if known).

EEREEE vetermine Your Adjusted Income

1. Copy your total current monthly income. 00000. cceececeeecsecetsesenseseseeneeseees Copy line 11 from Official Form 122A-1 here™>........... $ 5,554.00

2. Did you fill out Column B in Part 1 of Form 122A-1?
CJ No. Fill in $0 for the total on line 3.
id Yes. ts your spouse filing with you?
Wd No. Go to fine 3.
C) Yes. Fill in $0 for the total on line 3.

3. Adjust your current monthly income by subtracting any part of your spouse’s income not used to pay for the
household expenses of you or your dependents. Follow these steps:

On line 11, Column B of Form 122A—1, was any amount of the income you reported for your spouse NOT
regularly used for the household expenses of you or your dependents?

Wi No. Fill in 0 for the total on line 3.

C) Yes. Fill in the information below:

 

 

 

 

State each purpose for which the income was used Fill in the amount you
For example, the income is used to pay your spouse's tax debt or to support are subtracting from

people other than you or your dependents your spouse's income
$
$
+$
Total. 0. cece cece ster eaenaeneceesseseseesaesaussssevecsearseecsecsessecateanens $

Copy total here ............... > -—>$
4, Adjust your current monthly income. Subtract the total on line 3 from line 1. ¢ 5,554.00

 

 

 

 

Official Form 122A-2 Chapter 7 Means Test Calculation page 1
Case 8:20-bk-00183-CPM Doc1_ Filed 01/10/20 Page 60 of 68

Debtor 1 Clarence Gardener Case number (i known)

First Name Middle Name Last Name

Calculate Your Deductions from Your Income

 

 

The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to
answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for
this form. This information may also be available at the bankruptcy clerk’s office.

Deduct the expense amounts set out in lines 6-15 regardiess of your actual expense. In later parts of the form, you will use some of your
actual expenses if they are higher than the standards. Do not deduct any amounts that you subtracted from your spouse’s income in line 3
and do not deduct any operating expenses that you subtracted from income in lines 5 and 6 of Form 122A-1.

if your expenses differ from month to month, enter the average expense.

Whenever this part of the form refers to you, it means both you and your spouse if Column B of Form 122A—1 is filled in.

 

5. The number of people used in determining your deductions from income

Fill in the number of people who could be claimed as exemptions on your federal income tax return,
plus the number of any additional dependents whom you support. This number may be different from
the number of people in your household. : 5

 

 

National Standards You must use the IRS National Standards to answer the questions in lines 6-7.

6. Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National Standards, fill 900.00
in the dollar amount for food, clothing, and other items. $<

7. Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards,
fill in the dollar amount for out-of-pocket health care. The number of people is split into two categories—people who are
under 65 and people who are 65 or older—because older people have a higher IRS allowance for health care costs. If your
actual expenses are higher than this IRS amount, you may deduct the additional amount on line 22.

People who are under 65 years of age

7a. Out-of-pocket health care allowance per person

§ 55.00
7b. Number of people who are under 65 5
xX
7c. Subtotal. Multiply line 7a by line 7b. $ 275.00 copyheres>  $ 275.00
People who are 65 years of age or older
7d. Out-of-pocket health care allowance per person
7e. Number of people who are 65 or older x
7f. Subtotal. Multiply line 7d by line 7e. $ Copy here> +$

 

7g. Total. Add lines 76 and 7fi..ccccsccscesssssessesscsuseseessecsssssa:sesessscasesseetesseeansteceesesvsteceeces $ a 25. 0d Copy total here> 5 D715: 04

 

 

 

 

 

 

Official Form 122A-—2 Chapter 7 Means Test Calculation page 2
 

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Debtor 1 Clarence Gardener

Case number (i known)
First Name Middle Name Last Name

 

 

 

Local Standards You must use the IRS Local Standards to answer the questions in lines 8-15.

Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
bankruptcy purposes into two parts:

@ Housing and utilities — insurance and operating expenses
@ Housing and utilities - Mortgage or rent expenses
To answer the questions in lines 8-9, use the U.S. Trustee Program chart.

To find the chart, go online using the link specified in the separate instructions for this form.
This chart may also be available at the bankruptcy clerk’s office.

8. Housing and utilities - Insurance and operating expenses: Using the number of people you entered in line 5, fill in the
dollar amount listed for your county for insurance and operating EXPENSES. ........cccccccesscesecessccsceessesesceeescsesceseeetecesecsseens $ 2,084.00

9. Housing and utilities - Mortgage or rent expenses:

9a. Using the number of people you entered in line 5, fill in the dollar amount listed 2 084.00
for your county for mortgage or rent expenses $ - -

9b. Total average monthly payment for all mortgages and other debts secured by your home.

To calculate the total average monthly payment, add all amounts that are
contractually due to each secured creditor in the 60 months after you file for
bankruptcy. Then divide by 60.

 

 

 

 

 

 

 

 

 

 

 

 

Name of the creditor Average monthly
payment
Mr. Cooper g 1,623.00
5
+ $
c Repeat this
Total average monthly payment $__ 1,623.00 > —$ 1,623.00 amount on
here fine 33a.
9c. Net mortgage or rent expense.
Subtract line 9b (total average monthly payment) from line 9a (mortgage or $ 27.00 Copy. § 27.00
rent expense). If this amount is less than $0, enter $0. oo... cecceccceccescesseccsestssseessescssetesessucssesseseees here>
10. If you claim that the U.S. Trustee Program’s division of the IRS Local Standard for housing is incorrect and affects $
the calculation of your monthly expenses, fill in any additional amount you claim.
Explain
why:

 

11.Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

W 0. Goto line 14.

C) 4. Go to line 12.
L) 2or more. Go to line 12.

12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area. $

 

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Clarence Gardener

Middle Name

Debtor 1 Case number (i known)

First Name Last Name

 

 

 

13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense
for each vehicle below. You may not claim the expense if you do not make any loan or lease payments on the vehicle.
In addition, you may not claim the expense for more than two vehicles.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Vehicle 1 Describe Vehicle 1:
43a. Ownership or leasing costs using IRS Local Standard. ...........cccssccsssseessssceesesseesssserssees $.
13b. Average monthly payment for ail debts secured by Vehicle 1.
Do not include costs for leased vehicles.
To calculate the average monthly payment here and on line 13e, add all
amounts that are contractually due to each secured creditor in the 60 months
after you filed for bankruptcy. Then divide by 60.
Name of each creditor for Vehicle 1 Average monthly
payment
3
+ 3$
Copy Repeat this
Total average monthly payment $ > —$ amount on
here line 33b.
. : Copy net
13c. Net Vehicle 1 ownership or lease expense Vehicle t
Subtract line 13b from line 13a. If this amount is less than $0, enter $0. 0... ce $ expense
here... > $
Vehicle 2 Describe Vehicle 2:
13d. Ownership or leasing costs using IRS Local Standard, ..........cccccccscesessseeesseceeressseessees g
13e, Average monthly payment for ail debts secured by Vehicle 2.
Do not include costs for leased vehicles.
Name of each creditor for Vehicle 2 Average monthly
payment
$
+ $
Copy Repeat this
Total average monthly payment $ > $ amount on
here line 336.
: . Copy net
43f. Net Vehicle 2 ownership or lease expense Vehicle 2
Subtract line 13e from 13d. If this amount is less than $0, enter $0..........ccc cece eens $ expense
here... > $
14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the
Public Transportation expense allowance regardless of whether you use public transportation. $ 217.00 :
15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may also
deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim
more than the IRS Local Standard for Public Transportation. $
Official Form 122A-2 Chapter 7 Means Test Calculation page 4

 
 

 

Debtor 1 Clarence Gardener Case number (if known)

Other Necessary Expenses

16.

17.

18.

49.

20.

21.

22.

23.

24.

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First Name Middle Name Last Name

the following IRS categories.

Taxes: The total monthly amount that you will actually owe for federal, state and local taxes, such as income taxes, self-
employment taxes, Social Security taxes, and Medicare taxes. You may include the monthly amount withheld from your
pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12 and
subtract that number from the total monthly amount that is withheld to pay for taxes.

Do not include real estate, sales, or use taxes.

Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,
union dues, and uniform costs.

Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.

Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are filing
together, include payments that you make for your spouse’s term life insurance. Do not include premiums for life
insurance on your dependents, for a non-filing spouse’s life insurance, or for any form of life insurance other than term.

Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative
agency, such as spousal or child support payments.

Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

Education: The total monthly amount that you pay for education that is either required:
@ as a condition for your job, or
@ for your physically or mentally challenged dependent child if no public education is available for similar services.

Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
Do not include payments for any elementary or secondary school education.

Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that
is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a
health savings account. Include only the amount that is more than the total entered in line 7.

Payments for health insurance or health savings accounts should be listed only in tine 25.

Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services for
you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell phone
service, to the extent necessary for your health and weifare or that of your dependents or for the production of income, if it
is not reimbursed by your employer.

Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
expenses, such as those reported on line 5 of Official Form 122A-1, or any amount you previously deducted.

Add all of the expenses allowed under the IRS expense allowances.
Add lines 6 through 23.

In addition to the expense deductions listed above, you are allowed your monthly expenses for

$2,500.00

 

$ 600.00

3_ 400.00

 

 

 

 

 

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page 5
Debtor 4 Clarence Gardener Case number trinown)

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First Name Middle Name Last Name

Additional Expense Deductions These are additional deductions allowed by the Means Test.
Note: Do not include any expense allowances listed in lines 6-24.

25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or your
dependents.
Health insurance

Disability insurance

 

$
$
Health savings account + $
$

Total

 

 

 

Do you actually spend this total amount?

Wo. How much do you actually spend? $ 5
C) Yes

26. Continuing contributions to the care of household or family members. The actual monthly expenses that you will
continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of your
household or member of your immediate family who is unable to pay for such expenses. These expenses may include
contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).

27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety of
you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.
By law, the court must keep the nature of these expenses confidential.

28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on line 8.
If you believe that you have home energy costs that are more than the home energy costs included in expenses on line
8, then fill in the excess amount of home energy costs.
You must give your case trustee documentation of your actual expenses, and you must show that the additional amount
claimed is reasonable and necessary.

29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than $170.83*
per child) that you pay for your dependent children who are younger than 18 years old to attend a private or public
elementary or secondary school.

You must give your case trustee documentation of your actual expenses, and you must explain why the amount claimed is
reasonable and necessary and not already accounted for in lines 6-23.

* Subject to adjustment on 4/01/22, and every 3 years after that for cases begun on or after the date of adjustment.

30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are higher
than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more than 5% of the
food and clothing allowances in the IRS National Standards.

To find a chart showing the maximum additional allowance, go online using the link specified in the separate instructions for
this form. This chart may also be available at the bankruptcy clerk's office.
You must show that the additional amount claimed is reasonable and necessary.

31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
instruments to a religious or charitable organization. 26 U.S.C. § 170(c)(1)-(2).

32. Add all of the additional expense deductions.
Add lines 25 through 31.

_ HO Copy total here> ........ YO teteeeeeeeeenees

 

 

 

 

 

 

 

" Official Form 122A~2 Chapter 7 Means Test Calculation

page 6
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Debtor 1 Clarence Gardener Case number (if known)

First Name Middle Name Last Name

 

Deductions for Debt Payment

 

 

 

 

 

 

 

 

 

 

 

 

 

33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
loans, and other secured debt, fill in lines 33a through 33e.
To calculate the total average monthly payment, add all amounts that are contractually due to each secured
creditor in the 60 months after you file for bankruptcy. Then divide by 60.
Average monthly
Mortgages on your home: payment
33a. Copy line 9b NEL oo... ecccccecsccsssececssessessecesssssessesuecssssonesssnsessenessessvessennnerseseneessanenssesieessevass > $ 1,623.00
Loans on your first two vehicles:
33b. Copy line 13D Here. ccc cccccccsssssssssseesseeessessnseessnessisseseessnseassutecsuessaneessneestecesnestnneneses > $
33c. Copy line 13@ NOP. oo cecccecsscssessssevessssveessssessssssenessnsneesssessntisessssnitessussesessnscessieseasenesssnes > $
33d. List other secured debts:
Name of each creditor for other identify property that Does payment
secured debt secures the debt include taxes
or insurance?
C) No $
CO) Yes
LJ No $
Cl Yes
} No +§
C) Yes
. : | Copy total
33e. Total average monthly payment. Add lines 33a through 33d. oo... eens ceeereneeeneesesees $ here> $
34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
or other property necessary for your support or the support of your dependents?
L) No. Go to line 35.
Wf Yes. State any amount that you must pay to a creditor, in addition to the payments
listed in line 33, to keep possession of your property (called the cure amount).
Next, divide by 60 and fill in the information below.
Name of the creditor Identify property that Total cure Monthly cure
secures the debt amount amount
Mr. Cooper Homestead Prop = $31,798.00 =+¢§9= ¢ 6,363.30
$ + 60= $
$ +60= +$
Total $6,363.30 Copy total ¢ 6,363.30
L —_—————_ here> anne
35. Do you owe any priority claims such as a priority tax, child support, or alimony —
that are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.
No. Goto line 36.
C) Yes. Fill in the total amount of all of these priority claims. Do not include current or
ongoing priority claims, such as those you listed in line 19.
Total amount of all past-due priority Claims 20.02.00... cece cee ceeeeeeeee cece eneceeeeeeeeeneeereeaneeenae . —_
p priority $ +60= $
Official Form 122A-—2 Chapter 7 Means Test Calculation page 7

 
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Debtor 1 Clarence Gardener Case number tif known)

First Name Middle Name Last Name

 

36. Are you eligible to file a case under Chapter 13? 11 U.S.C. § 109(e).
For more information, go online using the link for Bankruptcy Basics specified in the separate
instructions for this form. Bankruptcy Basics may also be available at the bankruptcy clerk’s office.

W No. Go to line 37.
(I) Yes. Fill in the following information.

Projected monthly plan payment if you were filing under Chapter 13 $

Current multiplier for your district as stated on the list issued by the

Administrative Office of the United States Courts (for districts in Alabama and

North Carolina) or by the Executive Office for United States Trustees (for all

other districts). Xx

To find a list of district multipliers that includes your district, go online using the
link specified in the separate instructions for this form. This list may also be
available at the bankruptcy clerk’s office.

 

 

 

 

 

 

 

 

 

 

Cc total
Average monthly administrative expense if you were filing under Chapter 13 $ a> a
37. Add all of the deductions for debt payment. $
Add lines 33€ through 36. 0.0... cccccceceenseessceseesuseeeceeecaeeaeesaseesseseateeeeeseesuaeeesaeecsaseassesaeesesssaesaessesesesessssessuessasecseesenecsasenseniteeeaeseaes
Total Deductions from income
38. Add all of the allowed deductions.
Copy line 24, Ail of the expenses allowed under IRS $
EXPENSE AHOWANCES ooo. ceecceccecccccseccevensscssseseesecenescsesescececeuenessseseaes
Copy line 32, All of the additional expense deductions.......... $
Copy line 37, All of the deductions for debt payment............. +$
Total deductions $ Copy total here 0... > $

Determine Whether There Is a Presumption of Abuse

39. Calculate monthly disposable income for 60 months

5,554.00

39a. Copy line 4, adjusted current monthly income ..... $
39b. Copy line 38, Total deductions.......... -$

_ Monthly disposable income. 11 U.S.C. § 707(b)2.. . SS 7 L/ pO
39c. Monthly disposable income § 707(b)(2) § SSSY4 oc Copy 5 S SSY

Subtract line 39b from line 39a.

 

For the next GO months (5 years) o.oo... ccc cccccecscsesssesesesesesnsvseesesessseeceveesessussesseessanscansecesssapsesecetesesceaes x 60

or 3330) ID) copy a
39d. Total. Multiply line 396 by 60... ceecessssessssstesessecsvessansseaeenssesteesssessansieecessneesessseeseseesssesneseeceneateas $ Y here> Sau

40. Find out whether there is a presumption of abuse. Check the box that applies:

 

 

 

 

() The line 39d is less than $8,175*. On the top of page 1 of this form, check box 1, There is no presumption of abuse. Go to
Part 5.

L} The line 39d is more than $13,650*. On the top of page 1 of this form, check box 2, There is a presumption of abuse. You
may fill out Part 4 if you claim special circumstances. Then go to Part 5.

C} The line 39d is at least $8,175*, but not more than $13,650". Go to line 41.

* Subject to adjustment on 4/01/22, and every 3 years after that for cases filed on or after the date of adjustment.

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Debtor 4 Clarence Gardener

Case number (if known)
First Name Middle Name Last Name

 

 

41. 41a. Fill in the amount of your total nonpriority unsecured debt. If you filled out A
Summary of Your Assets and Liabilities and Certain Statistical Information Schedules
(Official Form 106Sum), you may refer to line 3b on that form

 

 

cosssesseesseesscesssesnecssenseccuseesnsesnessneseeesneees §
xX .25
41b. 25% of your total nonpriority unsecured debt. 11 U.S.C. § 707(b)(2)(A)(i)(1). Copy $
Multiply line 44a by 0.25, ..ccccccscsssssssssssuvsssessrcessssstussssseesesessssievessstsussssesiesuseesesttusnesesseeuesesteseeese $________ heres

 

 

 

 

 

 

42. Determine whether the income you have left over after subtracting all allowed deductions
is enough to pay 25% of your unsecured, nonpriority debt.

Check the box that applies:

CJ Line 39d is less than line 41b. On the top of page 1 of this form, check box 1, There is no presumption of abuse.
Go to Part 5.

C} Line 39d is equal to or more than line 41b. On the top of page 1 of this form, check box 2, There is a presumption
of abuse. You may fill out Part 4 if you claim special circumstances. Then go to Part 5.

Ea Give Details About Special Circumstances

 

43.Do you have any special circumstances that justify additional expenses or adjustments of current monthly income for which there is no
reasonable alternative? 11 U.S.C. § 707(b)(2)(B).

Wi No. Goto Part 5.

Q) Yes. Fill in the following information. All figures should reflect your average monthly expense or income adjustment
for each item. You may include expenses you listed in line 25.

You must give a detailed explanation of the special circumstances that make the expenses or income
adjustments necessary and reasonable. You must also give your case trustee documentation of your actual
expenses or income adjustments.

‘ . . pat Average monthly expense
Give a detailed explanation of the special circumstances or income adjustment

 

$

 

 

 

Sign Below

ae

 

 

 

Signature of Debtor 2

MM/DD /YYYY MM/DD /YYYY

 

 

 

 

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Case 8:20-bk-00183-CPM Docl1

Canterbury Glen HOA Inc
17510 Isbell Lane
Odessa, FL 33556

Robert J. Pierce, Esquire
227 N Bronough St, Ste 5000
Tallahassee, FL 32301

Mortgage Electronic Registration
Systems, Inc.

1901 E Vorhees St, Ste C
Danville, IL 61834

Mr. Cooper
8950 Cypress Waters Blvd
Coppell, TX 75019

 

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